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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



CENTER FOR INVESTIGATIVE
REPORTING,

                       Plaintiff,


               V.                                         Civil Action No.: 18-290 I (BAH)


UNITED STATES CUSTOMS AND BORDER
PROTECTION, et. al.,

                       Defendants.


                         DECLARATION OF SHARI SUZUKI

I, Shari Suzuki, declare as follows:

    1. I am the Freedom of Information Act (FOIA) Appeals Officer, and Chief of the

FOIA Appeals, Policy and Litigation (FAPL) Branch, Regulations and Rulings (RR),

Office of Trade (OT), U.S. Customs and Border Protection (CBP), U.S. Department of

Homeland Security (DHS). The FAPL Branch is the office within DHS/CBP that is

charged, at all times pertinent to this litigation, with the responsibility of managing and

responding to administrative appeals of initial responses to information access requests

made pursuant to the FOIA, 5 U.S.C. § 552.

   2. As the Chief of the FAPL Branch, I am responsible for the overall

supervision and management of the FAPL Branch and I serve as the official with the

following duties and responsibilities, inter a/ia: 1) giving guidance and instructions to the

personnel in CBP regarding the processing ofFOIA requests; 2) adjudicating
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administrative appeals that concern FOIA requests; and, 3) overseeing all CBP activities

related to information disclosure. I have held this position since April 2, 2006.

     3. CBP's mission is to protect the borders of the United States against terrorists and

the instruments of terror, enforce the customs and immigration laws of the United States,

and foster our Nation's economy by facilitating lawful international trade and travel. Our

mission includes the inspection and processing of passengers, conveyances, and

merchandise entering, transiting and departing the United States. CBP is the unified

border agency within the Department of Homeland Security charged with the

management, control and protection of our nation's borders at and between the official

ports of entry. CBP is charged with keeping terrorists and terrorist weapons out of the

country while enforcing over 400 Federal statutes on behalf of over 40 different Federal

agencies. The creation and implementation of effective law enforcement policies and

procedures is paramount to achieving this mission. The programs, policies and

procedures at issue in this case are directly related to CBP's law enforcement activities

and are used for border security and enforcement purposes.

4.      I am familiar with the Center for Investigative Reporting (hereinafter the

"Plaintiff') request and subsequent appeal for information from CBP pursuant to the

FOIA. All information contained herein is based upon information furnished to me in my

official capacities of FOIA Appeals Officer and FAPL Branch Chief. The statements I

make in this Declaration are based on my personal knowledge, which includes

knowledge acquired through attorneys in my branch, and agency files that I personally

reviewed in the course of my official duties.

5.      The purpose of this Declaration is to describe CBP's handling of the Plaintiffs




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FOIA request and appeal and to provide a Vaughn Index identifying information

responsive to the Plaintiffs FOIA request, but exempt from disclosure under the FOIA,

in accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), cert. denied, 415

U.S. 977 (1974). Attached hereto as Exhibit A is a true and correct copy of the Vaughn

Index identifying the documents released to the Plaintiff under the FOIA and the

statutory bases under the FOIA for the redaction of certain information from the records

released to the Plaintiff. This Declaration, along with the Vaughn Index, provides an

identification of information that is withheld, the statutory exemption(s) claimed, and the

justification for asserting the exemptions used to withhold certain information ·contained

in the records at issue.

6.      This Declaration consists of: (i) a summary of the relevant facts and

correspondence regarding the Plaintiffs FOIA request; (ii) the justification for

withholding information under the FOIA; and, (iii) a segregability statement.

I.      SUMMARY OF RELEVANT FACTS AND CORRESPONDENCE
        CONCERNING THE PLAINTIFF'S FOIA REQUESTS

7.      On March 17, 2017, CBP issued two Requests for Proposal (RFP),

HSBP1017R0022 and HSBP1017R0023, seeking to award multiple contracts and initial

task orders for the design and construction of border wall prototypes. CBP issued these

two RFPs to acquire multiple conceptual wall designs with the intent of constructing

multiple prototypes. More specifically, HSBP1017R0022 requested proposals for solid

concrete wall prototypes while HSBP 10 l 7R0023 requested proposals for other wall

prototypes. Prototyping is an industry-tested approach to identify the best solution when

considering a new product or methodology. Through the construction of prototypes, CBP

partners with industry to identify the best means and methods to construct border wall



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before making a more substantial investment in construction. CBP stated that all

prototypes were to be designed to deter illegal entry into the United States. Through the

prototyping process, CBP hoped to identify new designs or influences for new designs

that would expand the current border barrier toolkit that CBP uses to construct a border

wall system. The RFPs provided that that proposal submissions and questions should be

submitted to an email account: BorderWallDesignBuild@cbp.dhs.gov.

7.      On April 24, 2017, the Plaintiff filed a FOIA request with the FOIA Division,

Privacy and Diversity Office (PDQ), Office of the Commissioner, CBP, DHS. In the

FOIA request, assigned case number CBP-2017-051381, the Plaintiff requested records

pertaining to:

       Any and all submissions, records, documents, white papers, memoranda and/or
       alike material related to border fence/border wall contract proposals, i.e.
       HSBP1017R0022, HSBPI017R0023, 2017-JC-RT-0001 and 2017-DHS-OCPO-
       RFI-OOO 1 from the date of posting to the present. Relevant records include but
       are not limited to:- Phase I proposal submissions - Notifications sent to submitters
       of proposals, whether successful or no - Phase II proposal submissions - All
       schedules, calendars and itineraries related to prototype presentations - Any and
       all recordings of prototype presentations - Any maps, GIS data, geotechnical data
       or site conditions information regarding the prototype site - Any materials related
       to scoring proposals and/or testing of prototypes and/or mockups - Results and/or
       scoring of prototypes and mockups - Border Patrol-approved design standards for
       fence/wall - Aerial and/or satellite photos of the prototype location - Evaluations,
       assessments, analyses, summaries, reviews and/or reports regarding the bid,
       submission, evaluation and prototype process.

The Plaintiff submitted a request for a fee waiver and a request for expedited processing

with their FOIA submission of April 24, 2017.

8.     The FOIA Division granted the Plaintiffs request for a fee waiver and request for

expedited processing on August 3, 2017.

9.     The FOIA Division also responded to the Plaintiffs FOIA request on August 3,

2017. In their response letter to the Plaintiff, the FOIA Division stated that a search of



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CBP databases produced responsive records but that the records were being withheld in

their entirety pursuant to 5 U.S.C. §§ 552 (b)(4). The FOIA Division's response letter

also stated that 2017-DHS-OCPO-RFI-0001 did not pertain to a CBP contract.

10.     The Plaintiff appealed the FOIA Division's August 3, 2017, determination by

submission dated October 17, 201 7. The Plaintiffs submission consisted of a letter with

exhibits and was submitted to CBP through FOIAonline on October 26, 2017.

FOIAonline is an online portal that serves as CBP's system for tracking FOIA requests.

The Plaintiffs appeal was received by the FAPL Branch on October 27, 2017. In the

appeal letter, the Plaintiff appealed the FOIA Division's determination to withhold the

responsive records from disclosure because there were no trade secrets in the requested

records which should be withheld pursuant to 5 U.S.C. §§ 552 (b)(4). The Plaintiff also

stated that CBP's RFP's indicated that any information gathered through the proposal

process would be in the public domain and not be considered confidential. For this

reason, the Plaintiff claimed that the records also cannot be considered commercial or

financial information that is privileged or confidential under 5 U.S.C. §§ 552 (b)(4). In

addition, the Plaintiff appealed the FOIA Division's determination to withhold records in

their entirety, stati_ng that the decision to do so was overbroad and that there should be

segregable information in the records that could be released.

11.     I directed an attorney on my staff to search for records that would be responsive

to the Plaintiffs FOIA appeal. Regarding the parameters of the search, the FAPL Branch

contacted the offices within CBP that would maintain such records, provided them with

the Plaintiffs submission, and requested that the offices conduct a reasonable search for

any responsive records that might exist. The offices within CBP that provided the




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records under consideration in this case were the Office of Facilities and Asset

Management (OFAM), Office of Acquisition (OA), and Office of Information

Technology (OIT). Based on nature of the original FOIA request and extensive

experience working with the FOIA Division and handling appeals of similar FOIA

requests, the FAPL Branch determined that there were no other CBP offices likely to

have responsive records. In addition, none of the responsive records located by OFAM,

OA, and OIT suggested that there were other offices likely to have responsive records.

12.     The Office of Facilities and Asset Management (OFAM) delivers real property,

tactical infrastructure, energy and environmental, fleet, uniform, personal property

inventory, and other asset and administrative management services and support for CBP

employees. OFAM manages CBP's facilities and tactical infrastructure portfolios

including fencing along the Southwest border that is the subject of this FOIA request.

OFAM searched for records based on the contract proposal numbers stated in the request

which are the requests for proposals for border wall prototypes. The search by OFAM

produced 101 pages of documents. Of the 101 pages of documents, 99 pages were

withheld from disclosure primarily pursuant to 5 U.S.C. § 552 (b)(5), but also pursuant to

5 U.S.C. §§ 552(b)(6), (b)(7)(C), and (b)(7)(E). In addition, one page was released to the

Plaintiff with redactions made pursuant to 5 U.S.C. §§ 552 (b)(6) and (b)(7)(C). The

remaining one page was released to the Plaintiff without redaction.

13.     The Office of Acquisition (QA) supports CBP by providing expertise and

oversight in acquiring or procuring mission-essential systems, supplies, or services. After

working closely with OFAM, OA was responsible for overseeing the requests for

proposals that are the subject of this request. A contract specialist conducted the search




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for responsive records within OA based on the contract proposal numbers stated in the

request. The search for responsive records within OA produced 990 pages of documents.

These documents primarily consist of the successful proposals that were selected for

contract award. Of the 990 pages of documents, 946 pages were released to the Plaintiff

without redaction. The remaining 44 pages were released to the Plaintiff with redactions

made pursuant to 5 U.S.C. §§ 552 (b)(6), (b)(7)(C), and (b)(7)(E).

14.     The Office oflnformation Technology (OIT) delivers information technologies

and services to CBP, other government agencies, the travelling public, and the

international trade community in support of CBP' s day-to-day activities to secure the

border and facilitate trade and travel. The FAPL Branch requested that OIT provide

submissions that were made to BorderWallDesignBuild(@,cbp.dhs.gov. The

BorderWallDesignBuild@cbp.dhs.gov email account served as the primary point of

contact between the public and CBP for matters related to the border wall RFP ' s that are

the subject of this request, including the submission of proposals. Accordingly, the email

account contained questions and responses pertaining to the RFP' s as well as proposal

submissions. The search by OIT produced 5,671 pages of documents. The bulk of the

documents consisted of 152 unsuccessful proposals (i.e., the proposals that were not

selected by CBP to be awarded a contract). Of the 5,671 pages of documents, 5,489

pages were withheld from disclosure pursuant to 5 U.S.C. §§ 552 (b)(3), (b)(4), (b)(6),

(b)(7)(C), and (b)(7)(E). In addition, 110 pages of the documents were released to the

Plaintiff with redactions made pursuant to 5 U.S.C. §§ 552 (b)(4), (b)(5), (b)(6), and

(b)(7)(C). The remaining 72 pages of documents were released to the Plaintiff without

redaction.




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15.     The FAPL Branch responded to the Plaintiffs FOIA appeal by letter dated

September 10, 2018. In the FAPL Branch letter to the Plaintiff, it was noted that 6,762

pages of documents were located during the search for responsive records. Of the 6,762

pages, 1,019 were released to the Plaintiff in their entirety. The FAPL Branch

determined that 5,588 pages of documents should be withheld from disclosure pursuant

to 5 U.S.C. §§ 552 (b)(3), (b)(4), (b)(5), (b)(6), (b)(7)(C) and (b)(7)(E). Again, the bulk

of those documents withheld in their entirety consist of the unsuccessful proposals that

were not selected by CBP for contract award. The remaining 155 pages of documents

were released with redactions made pursuant to 5 U.S.C. §§ 552 (b)(4), (b)(5), (b)(6),

(b )(7)(C), and (b )(7)(E). Attached hereto as Exhibit B is a true and correct copy of the

letter from the FAPL Branch to the Plaintiff dated September 10, 2018.

16.     On September 14, 2018, I received an email from the Plaintiff requesting a

telephone call to discuss the FAPL Branch's response to the appeal.. An attorney on my

staff contacted the Plaintiff by telephone on September 17, 2018, to discuss the matter.

The Plaintiff requested that the FAPL Branch produce a list of documents that would

show which documents were withheld from disclosure and which redactions were applied

during the processing of the appeal similar to a Vaughn index. On September 19, 2018, I

emailed the Plaintiff and indicated that I was directing an attorney on my staff to create a

list of documents that would include a brief description of each document (or group of

documents), a brief description of the information that was redacted in each document (or

group of documents), and the FO IA Exemptions that were applied to each document (or

group of documents). An attorney on my staff emailed the Plaintiff the List of

Documents as an email attachment on October 22, 2018. Attached hereto as Exhibit C is




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a true and correct copy of the "List of Documents CBP-AP-2018-006188" attachment

that was emailed from the FAPL Branch to the Plaintiff on October 22, 2018. Attached

hereto as Exhibit D is a true and correct copy of the email chain sent between the FAPL

Branch and the Plaintiff. The emails were sent between September 14, 2018, and

October 22, 2018.

17.     In preparing the Vaughn Index for this matter, I noticed some errors in the List of

Documents. The number of pages within each category of document in the Vaughn

Index and List of Documents closely correspond. However, one email was found within

the proposal documents rather than with the emails where it belonged.

Similarly, the number of documents set forth as proposals in the Vaughn Index is 5,482

whereas in the List of Documents, the number of proposal documents is 5,483. In

addition, the Vaughn Index more accurately describes the emails that were withheld from

disclosure.

18.     On January 30, 2019, I was notified that the Plaintiff filed the instant lawsuit.

II.     JUSTIFICATION FOR WITHHOLDING INFORMATION UNDER FOIA

          A. 5 U.S.C. § 552 (b)(3): Records Specifically Exempted from Disclosure
             by Statute

19.     Exemption (b)(3) (5 U.S.C. § 552 (b)(3)) of the FOIA protects information

specifically exempted from disclosure by another statute, if the statute (A) requires that

the matters be withheld from the public in such a manner as to leave no discretion on the

issue, or (B) established particular criteria for withholding or refers to particular types of

matters to be withheld. In applying FOIA Exemption (b)(3), The Court of Appeals for

the District of Columbia Circuit has held tµat records may be withheld under the

authority of another statute pursuant to FOIA Exemption (b)(3) "if- and only if-that



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statute meets the requirements of Exemption 3, including the threshold requirement that it

specifically exempt matters from disclosure." Reporters Comm. for Freedom ofthe Press

v. DOJ, 816 F.2d 730, 734 (D.C. Cir. 1987), modified on other grounds, 831 F.2d 1124

(D.C. Cir. 1987), rev'd on other grounds, 489 U.S. 749 (1989). In Reporters Committee,

the D.C. Circuit further stated that "[a] statute that is claimed to qualify as an Exemption

3 withholding statute must, on its face, exempt matters from disclosure. [The court] must

find a congressional purpose to exempt matters from disclosure in the actual words or the

statute (or at least in the legislative history of FOIA)- not in the legislative history of the

claimed withholding statute, nor in an agency's interpretation of the statute." Reporters

Comm., 816 F.2d at 735; see also, Pub. Citizen, 533 F.3d at 813-14; Nat'/ Ass'n ofHome

Builders, 309 F.3d at 37 (finding that statute failed to qualify as withholding s~tute under

FOIA Exemption (b)(3)).

20.     Proposals in the possession or control of a Federal agency were specifically

prohibited from being disclosed to any person under the FOIA pursuant to The National

Defense Authorization Act of 1997 (codified at 41 U.S.C. § 253b (m) and currently

located at 41 U.S.C. § 4702 (b)). Under 41 U.S.C. § 4702 (c), Federal agencies are

prohibited from releasing any such proposals unless a proposal is set forth or

incorporated by reference in a contract entered into between the agency and the

contractor that submitted the proposal. "Proposal" is defined under the statute as a

proposal, including a technical, management, or cost proposal, submitted by a contractor

in response to the requirements of a solicitation for a competitive proposal (41 U .S.C. §

4702 (a)).

21.     In this matter, CBP applied FOIA Exemption (b)(3) to withhold 5,482 pages of




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proposal documents that were submitted in response to the CBP RFP' s for prototype

builds of the border wall. The proposals submissions included concept papers, proposed

contracts, financial information, cost estimates, charts, statements of qualifications,

technical diagrams, and other related information. FOIA Exemption (b)(3) was applied

to withhold these proposal documents because they were not selected by CBP for

inclusion in a contract or otherwise incorporated into a contract by reference. In other

words, CBP withheld the unsuccessful proposal submissions in their entirety. It should

be noted, at this juncture, that CBP did release with redactions the successful contracts

that were selected for award.

        B. 5 U.S.C. § 552 (b)(4): Trade Secrets and Commercial or Financial
           Information Obtained from a Person and Privileged or Confidential

22.     Exemption (b)(4) (5 U.S.C. § 552 (b)(4)) of the FOIA protects trade secrets and

commercial or financial information obtained from a person [that is] privileged and

confidential. Redactions were made in this case pursuant to FOIA Exemption (b)(4) to

withhold information pertaining to matters such as specific company resources that are

dedicated to construction, company border security capabilities, company financial data,

and other contract management information that is unique to submitters such as specific

measures undertaken to enhance overall contract performance. FOIA Exemption (b)(4)

was applied to portions of the documents that were released to the Plaintiff and to 4,999

pages of documents that were withheld in their entirety. The 4,999 pages consist of

portions of the 152 unsuccessful proposal submissions that were also withheld under

Exemption (b)(3 ).

23.     Because the information that was withheld did not relate to trade secrets, FOIA

Exemption (b)(4) would only apply to: "(I) commercial and financial information, (2)



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obtained from a person or by the government, (3) that is privileged and confidential."

Watkins v. Customs & Border Protection, 2011 U.S. App. LEXIS 9443 at 9 (9th Cir. May

6, 2011 ). The information that was withheld from disclosure in this case pursuant to

FOIA Exemption (b)(4) is commercial. Although not all information submitted to the

government by a commercial entity will be protected by FOIA Exemption (b)(4), the

courts interpret the term broadly and extend the exemption to cover any information in

which a third party has a "commercial interest." Baker & Hostetler LLP v. Department

ofCommerce, 413 F.3d 312, 319 (D.C. Cir. 2006). The submitters of the information that

was redacted pursuant to FOIA Exemption (b)(4) have a clear commercial interest in the

information that was withheld.

24.     The information was obtained by a "person," satisfying the second prong ofFOIA

Exemption (b)(4)' s requirements. Courts have also interpreted this prong broadly so as to

include any information submitted by "an individual, partnership, corporation,

association or public or private organization other than the agency." Nadler v. FDIC, 92

F. 3d 93, 95 (2d Cir. 1996). The redacted information in this case was provided to CBP

by private parties which each clearly fit the description of "person" within the meaning of

FOIA Exemption (b)(4).

25.     The third requirement ofFOIA Exemption (b)(4) was satisfied because the

withheld information was considered to be "privileged and confidential" within the

meaning of Exemption (b)(4). Whether information submitted to a Federal agency is

considered "confidential" under FOIA Exemption (b)(4) depends on whether the

information was a required or voluntary submission to the government. If the

government required submission of the information, the exemption will only protect




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commercial or financial material that is likely to: "(1) impair the government'~ ability to

obtain necessary information in the future; or (2) cause substantial harm to the

competitive position of the person from whom the information was obtained." National

Parks and Conservation Association v. Morton, 498 F.2d 765, 770 (D.C. Cir 1974). In

contrast, FOIA Exemption (b)(4) offers broader protection for any financial or

commercial information provided to the government on a voluntary basis. In such

situations, information will be protected in all cases so long as "it is of a kind that a

provider would not customarily release to the public." Critical Mass Energy Project v.

Nuclear Regulatory Commission, en bane, 975 F.2d 871,872 (D.C. Cir. 1992). Each

party voluntarily submitted a proposal in order to be awarded a contract by CBP to build

a prototype of the border wall. However, CBP required the submission of the

information in order to adequately evaluate the proposals and ultimately award the

contracts to build the prototypes of the wall. Therefore, because CBP required the

submissions, in order to qualify for protection under FOIA Exemption (b)(4), disclosure

of the information must be likely to (1) impair the government's ability to obtain

necessary information in the future; or (2) cause substantial harm to the competitive

position of the person from whom the information was obtained. In this case, the FAPL

Branch determined that releasing the information that was withheld would cause

substantial harm to the ~ompetitive positions of the submitters because releasing the

information would reveal the competitive vulnerabilities and operational capabilities of

various competitors. In this respect, releasing the information that was withheld would

enable competitors to exploit this information for their benefit by enhancing their ability

to obtain future government contracts by formulating and altering their business




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strategies. This would thereby substantially harm the competitive positions of the

submitters of the information by undercutting their ability to obtain future contracts.

Additionally, it should be noted that the RFP's sought new designs or new ideas for

border walls, and many of the proposals that were submitted contained innovative, novel

and proprietary information that a submitter would not want released to competitors.

        C. 5 U.S.C. § 552 (b)(5): Inter-agency or Intra-agency Memorandums or
        Letters Which Would not be Available by Law to a Party Other Than an
        Agency in Litigation With the Agency

26.     Exemption (b)(5) (5 U.S.C. § 552 (b)(5)) of the FOIA protects inter-agency or

intra-agency memorandums or letters which would not be available by law to a party

other than an agency in litigation with the agency. The statutory language unequivocally

incorporates all civil discovery rules into FOIA Exemption (b)(5). The three primary,

most frequently invoked privileges that have been held to be incorporated into FOIA

Exemption (b)(5) are the deliberative process privilege, the attorney work-product

privilege, and the attorney-client privilege.

27.     The most commonly invoked privilege incorporated within FOIA Exemption 5 is

the deliberative process privilege, the general purpose of which is to "prevent injury to

the quality of agency decisions." NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 151

(1975). Specifically, three policy purposes consistently have been held to constitute the

basis for this privilege: (1) to encourage open, frank discussions on matters of policy

between subordinates and superiors; (2) to protect against premature disclosure of

proposed policies before they are finally adopted; and (3) to protect against public

confusion that might result from disclosure of reasons and rationales that wen~ not in fact

ultimately the grounds for an agency's actions. See, e.g., Russell v. Dep 't ofthe Air




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Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982); Coastal States Gas Corp. v. Dep't of

Energy, 617 F.2d 854, 866 (D.C. Cir. 1980). Traditionally, the courts have established

two fundamental requirements, both of which must be met, for the deliberative process

privilege to be invoked. Petroleum Info. Corp; v. United States Dep't ofthe Interior, 976

F.2d 1429, 1434 (D.C. Cir. 1992). First, the communication must be predecisional, and

second, the communication must be deliberative in that it makes recommendations or

expresses opinions on legal or policy matters. Vaughn v. Rosen, 523 F.2d 1136, 1143-44

(D.C. Cir. 1975).

28.     The information withheld pursuant to the FOIA Exemption (b)(5) deliberative

process privilege in this case includes documents such as the interagency acquisitions

supplement, best procurement approach for assisted acquisitions document, terms and

conditions for assisted acquisitions document, border wall funding spreadsheets,

interagency agreements, proposed responses to Congressional questions with edits, draft

border wall communication and outreach strategy plan and outline, internal white paper

documents pertaining to acquiring prototype wall designs, schedules pertaining to border

wall matters, an internal risk register, U.S. Border Patrol facilities and tactical

infrastructure and Air and Marine PMO wall project requirements document, and

portions of certain emails. In determining whether this information was properly

withheld from disclosure pursuant to FOIA Exemption (b)(5), the initial consideration

that must be made is whether the information being withheld is of the type intended to be

covered by the phrase "inter-agency" or "intra-agency memorandums." The information

being withheld pursuant to ~xemption (b )(5) in this case was created by CBP employees

in order to develop, examine, or propose CBP policies relating to the border wall.




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Therefore, FAPL Branch determined that the initial threshold requirement ofFOIA

Exemption (b)(5) was met in this case.

29.     Having satisfied the threshold requirement of FOIA Exemption (b)(5), the next

consideration was whether the information that was being withheld was considered both

predecisional and deliberative in nature. The Supreme Court has held that "[a]gencies

are, and properly should be, engaged in a continuing process of examining their policies;

this process will generate memoranda containing recommendations which do not ripen

into agency decisions ... ". Sears, 421 U.S. at 151 n. 18. As such, courts have held that

FOIA Exemption (b)(5) can be applicable if documents are generated as part of such a

continuing process of decision making. See, e.g., Cassad v HHS, 301 F.3d 1247, 1252

(10th Cir. 2002). Categories of documents that are routinely protected by the deliberative

process privilege are "advisory opinions, recommendations, and deliberations comprising

part of a process by which governmental decisions and policies are formulated." Sears,

421 U.S. at 150. They are protected because, by their very nature, their release would

likely "stifle honest and frank communication within the agency." Coastal States, 617

F.2d at 866. To this end, it has been recognized that "[t]he deliberative process privilege

rests on the obvious realization that officials will not communicate candidly among

themselves if each remark is a potential item of discovery and front page news." See,

Dep't ofthe Interior v. Klamath Water Users Protective Ass 'n, 532 U.S. 1, 8-9 (2001).

30.     The information that was withheld pursuant to FOIA Exemption (b)(5) in this

case is predecisional and deliberative in that it consists of evaluations, opinions,

observations, and other findings that CBP employees deemed critical as part of

administering the evolving and ongoing border wall contracting, procurement, and




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construction process. The FAPL Branch determined that these documents are

predecisional and deliberative in nature in that they contain information under

consideration by CBP as the agency moved towards a decision on how to administer the

evolving process. The process of developing new and innovative border fence designs is

an inherently deliberative process. Additionally, the procurement process is often an

evolving process involving timelines or plans that often have to be shifted and changed.

In this regard, the authors of the documents selected specific facts out of a larger group of

facts and this constituted an exercise of judgment by CBP personnel and this very act is

deliberative in nature. Release of the documents and information would have revealed

how CBP employees are prioritizing different facts and what facts they consider to be

important in the process. In addition, releasing these documents could result in confusion

regarding reasons and rationales that may not ultimately be the grounds for any actions

the agency may take regarding the ongoing process. Moreover, release of these

documents could chill open and frank discussions among CBP employees. We

specifically note that the documents contain employee findings;

alternatives/advantages/disadvantages/recommendations for different contracting,

procurement, and construction scenarios; suggested text proposals for agreements and

other documents; internal funding calculations; employee edits; proposed construction

schedules; proposed courses of action; and, analyses of proposed tactical infrastructure

projects. The act of distilling the evidence, which involves separating the significant

facts from the insignificant facts, constitutes an exercise of judgment by agency

personnel. Such selective facts are therefore entitled to the same protection as afforded to

purely deliberative materials, as their release would permit indirect inquiry into the




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mental processes of employees and expose agency deliberations. If disclosed, this

information could result in confusion regarding reasons and rationales that are not

ultimately the grounds for the agency's actions and would chill open and frank

discussions among those CBP employees that are inyolved in the border wall contracting,

procurement, and construction process. This deliberative and pre-decisional information

is precisely the type of material that the exemption was intended to cover as the

information reflects agency deliberations and is therefore properly withheld from

disclosure pursuant to FOIA Exemption (b)(5).

31.     The courts have also found that "drafts" are a category of document that are

particularly likely to be found exempt under the deliberative process privilege.

Abdelfattah v. DHS, 488 F.3d 178, 183 (3d Cir. 2007); Gerstein v. CIA, No. 06-4643,

2008 WL 4415080, at *16 (N.D. Cal. Sept. 26, 2008) (protecting draft letters); Donham

v. U.S. Forest Service, No. 07-111, 2008 WL 2157167, at *5 (S.D. Ill. May 21, 2008)

(finding draft documents to be "precisely the kind of documents that Exemption 5 and the

deliberative process privilege seek to protect from dis~losure"); Pub. Employees for Envtl

Responsibility v. Bloch, 532 F. Supp. 2d 19, 22 (D.D.C. 2008) (protecting draft "position

descriptions"); Ebersole v. United States, No. 06-2219, 2007 WL 2908725, at *5 (D. Md.

September 24, 2007) (protecting draft memorandum of understanding, noting that draft

"does not memorialize a final agency decision"); Judicial Watch, Inc. v. U.S. Dep 't of

Commerce, 337 F. Supp. 2d 146, 174 (D.D.C. 2004) (protecting draft agreement and draft

of letter from Secretary of Commerce). Therefore, in addition to the reasons set forth

above, the FAPL Branch determined that draft documents were properly withheld from

disclosure pursuant to FOIA Exemption (b)(5).




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        D. 5 U.S.C. § 552 (b)(6): Personnel and Medical Files and Similar Files the
        Disclosure of Which Would Constitute a Clearly Unwarranted Invasion of
        Personal Privacy

32.     Exemption (b)(6) (5 U.S.C. § 552(b)(6)) of the FOIA exempts from disclosure

personnel and medical files and similar files the release of which would constitute a

clearly unwarranted invasion of personal privacy. This protection is afforded to

information that would infringe on the personal privacy of individuals about whom it

pertains. The United States Supreme Court in United States v. Washington Post Co., 456

U.S. 595 (1982) stated in reliance on the legislative history of the FOIA that the phrase

"personnel and medical and similar files" was to be broadly interpreted and made it clear

that all information that "applies to a particular individual" meets the threshold

requirement for FOIA Exemption (b)(6) protection. Once the threshold requirement is

met, FOIA Exemption (b)(6) requires a balancing of the public's right to know against an

individual's right to privacy to determine whether disclosure of the records at issue would

constitute a clearly unwarranted invasion of a person's privacy. Dep 't ofthe Air Force v.

Rose, 425 U.S. 352 (1976). It must be ascertained whether a protectible privacy interest

exists that would be threatened by disclosure.

33.     In this matter, information redacted pursuant to FOIA Exemption (b)(6) includes

the names and other personally identifying information of CBP employees. This

personally identifying information includes information such as telephone numbers and

email addresses. Release of this information would constitute a clearly unw~anted

invasion of personal privacy. The CBP employees have a protectable privacy interest in

this information that would be threatened by disclosure. Release of this information

would not shed light on the actions of CBP and there is no public interest in the




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disclosure of this information. Accordingly, the individuals' right to privacy outweighs

whatever public interest, if any, might exist in knowing the information.

34.     FOIA Exemption (b)(6) has also been applied to redact the personal information

of the third party individuals that are identified in the various records (for example, the

individuals that are identified in the proposals). The personal information that has been

redacted in these documents includes information such as names, email addresses,

addresses, photographs, and telephone numbers. Release of this information could lead

to identification and would clearly constitute an unwarranted invasion of personal privacy

for these individuals. They clearly have a protectable privacy interest in this i!}formation

that would be threatened by disclosure of the information to the Plaintiff. Moreover,

release of this information would not shed light on the actions of CBP and there is no

public interest in the disclosure of this information. Accordingly, the individuals' right to

privacy outweighs whatever public interest, if any, might exist in knowing the

information.

        E. 5 U.S.C. § 552 (b)(7)(C): Records and Information Compiled for Law
        Enforcement Purposes that Could Reasonably be Expected to Constitute an
        Unwarranted Invasion of Personal Privacy

35.     Exemption (b)(7)(C) (5 U.S.C. 552 § (b)(7)(C)) of the FOIA exempts from

disclosure law enforcement records or information that could reasonably be expected to

constitute an unwarranted invasion of personal privacy. FOIA Exemption (b)(7)(C)

applies to civil, criminal, and administrative law enforcement proceedings, and protects,

among other information, the identity of law enforcement personnel and third parties

referenced in files that are compiled for law enforcement purposes. FOIA Exemption

(b)(7)(C) was asserted in this case in addition to FOIA Exemption (b)(6) in order to




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protect the identities of CBP employees and other third parties that are identified in the

records to protect these individuals from unnecessary questioning and harassment

concerning the law enforcement activities in which they are involved.

36.     The CBP records under consideration in this case, consisting of documents

pertaining to the procurement and construction of a border wall which is meant to deter

illegal crossings and to protect the United States from other outside threats, meet the

threshold requirement of being compiled for law enforcement purposes. In this respect,

CBP' s mission is to protect the borders of the United States against terrorists and the

instruments of terror, enforce the customs and immigration laws of the United States, and

foster our Nation's economy through lawful international trade and travel. The creation

and implementation of effective law enforcement tools is paramount to achieving CBP's

mission. The border wall is an essential law enforcement tool. The records in this case

constitute law enforcement records because they pertain to the procurement and

construction of a border wall that will be utilized in furtherance of CBP's law

enforcement mission.

37.     In this case, information redacted pursuant to FOIA Exemption (b)(7)(C) includes

the names and other personally identifying information of CBP employees. Examples of

such personally identifying information includes telephone numbers and email addresses.

FOIA Exemption (b)(7)(C) has also been applied to redact the personal information of

the third party individuals that are identified in the various records (for example, the

individuals that are identified in the proposals). The personal information tha~ has been

redacted in these documents includes information such as names, email addresses,

addresses, photographs, and telephone numbers. In applying FOIA Exemption (b)(7)(C)




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to withhold this information, CBP notes that the individuals whose privacy would be

subject to invasion are identified in the unredacted records and that the invasion of their

privacy is unwarranted. There is no public interest to be served by placing the identities

or personally identifying information of the CBP employees and other parties before the

public.

          F. 5 U.S.C. § 552 (b)(7)(E): Records and Information Compiled for Law
          Enforcement Purposes That Would Disclose Techniques and Procedures for
          Law Enforcement Investigations or Prosecutions

38.       Exemption (b)(7)(E) (5 U.S.C. 552 § (b)(7)(E)) of the FOIA exempts from

disclosure law enforcement records that would disclose techniques and procedures for

law enforcement investigations or prosecutions, or would disclose guidelines for law

enforcement investigations or prosecutions if such disclosure could reasonably be

expected to risk circumvention of the law. See, Fisher v. U.S. Dep't ofJustice, 772

F.Supp. 7 (D.D.C. 1991) (explicitly recognizing categorical protection for law

enforcement techniques and procedures), a.ff'd, 968 F .2d 92 ( 1992); Keys v. Department

ofHomeland Security, 510 F.Supp.2d 121 (D.D.C. 2007); Hammes v. U.S. Customs

Serv., 1994 WL 693717 (S.D.N.Y. 1994) (protecting criteria used to determine which

passengers to stop and examine). FOIA Exemption (b)(7)(E) is designed to p:r.:ovide

categorical protection for law enforcement techniques and procedures. See, Beck v. U.S.

Dep't ofthe_Treasury, No. 88-493 (D.D.C. 1989), aff'd, 949 F.2d 1563 (D.C. Cir. 1992)

(approving nondisclosure of certain documents because disclosure would reveal

surveillance techniques used by Customs, as well as why certain individuals were

contacted with regard to investigations).

39.       The CBP records under consideration in this case, consisting of documents




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pertaining to the procurement and construction of a border wall which is meant to deter

illegal crossings and to protect the United States from other outside threats, meet the

threshold requirement of being compiled for law enforcement purposes.

40.     In this matter, FOIA Exemption (b)(7)(E) has been applied to withhold from

disclosure information relating to tactical infrastructure construction plans that could

reveal potential strengths or vulnerabilities to violators as well as other sensitiye

information relating to U.S. Government border facilities and operations. In this respect,

·an example of the information that is being withheld includes the locations of U.S.

Border Patrol forward operating bases and checkpoints which are strategically located for

the sustainment of tactical operations. Release of this information could enable

individuals to create a blueprint of specific station activity thereby revealing the

comparative strengths and weaknesses of various U.S. Border Patrol stations. In

addition, tactical infrastructure construction plans that set forth the specific loGations of

cables, cameras, and other detection technologies have been withheld from disclosure as

well as information pertaining to specific fence vulnerabilities and proposed surveillance

techniques intended to better deter illegal crossings. An internal risk assessment that was

created to analyze the risk associated with the foregoing projects has also been withheld

pursuant to FOIA Exemption (b)(7)(E) because the document contains sensitive CBP law

enforcement information. The border wall and other tactical infrastructure projects are

law enforcement tools that CBP utilizes to enforce the immigration and narcotics laws of

the United States as well as to perform its homeland security mission. The information

was withheld from disclosure in order to protect sensitive law enforcement in~ormation.

Release of the information would enable individuals to develop countermeasures to evade




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border security measures thereby circumventing the law.

41.     In addition, FOIA Exemption (b)(7)(E) has been applied to withhold internal CBP

accounting and data codes from disclosure. This information has been redacted in order

to protect CBP' s methods for categorizing, identifying, and navigating certain law

enforcement records. Release of this information could enable individuals to identify and

potentially access law enforcement records and CBP databases without authorization

thereby circumventing the law. Therefore, FOIA Exemption (b)(7)(E) was applied to

withhold this information from disclosure.

                                 III. SEGREGABILITY

42.     All information withheld is exempt from disclosure pursuant to a FOIA

exemption or is not reasonably segregable because it is so intertwined with pr(?tected

material that segregation is not possible or its release would have revealed the underlying

protected material. I have reviewed the records that have been released to the Plaintiff in

response to this litigation and determined that the released documents are responsive. I

have reviewed the documents line-by-line, to identify information exempt from

disclosure or for which a discretionary waiver of exemption could apply, and I am

satisfied that all reasonably segregable portions of the relevant records have been released

to the Plaintiff in this matter. In my determination, any further release of the ~xempted

materials could reasonably lead to the identification of the individuals or other

information that is properly protected by the exemptions asserted.




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                                    JURAT CLAUSE

I declare under penalty of perjury that the statements made in the forgoing Declaration

are true and correct to the best of my knowledge, information and belief.

Signed this   'i"" day of l'Jl.:3     ,20 19 in Washington, D .C.


                                     Shari Suzuki, Chief
                                     FOIA Appeals, Policy and Litigation Branch
                                     Regulations and Rulings
                                     Office of Trade
                                     U.S. Customs and Border Protection
                                     U.S. Department of Homeland Security




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                          EXHIBIT A
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                                          Vaughn Index for Center for Investigative Reporting v.
                                              United States Customs and Border Protection

                                                        Civil Action No. 18-2901 (BAH)


Document       Location & Other                Document Description                  Pages                Disposition & Exemption(s)
             Document Identifiers
1          Office of Acquisition      Contract Documents.                                976   Information withheld in part pursuant to:
           (OA), U.S. Customs and
           Border Protection (CBP),   The contract documents contain the                       Exemptions (b)(6) and (b)(7)(C) – a minimal
           Washington, DC             “Solicitation, Offer, and Award”                         amount of information was withheld to protect the
                                      documents, with amendments, pertaining                   names and personally identifying information of
                                      to the prototype builds of the border wall.              CBP employees to protect the CBP employees
                                      The amendments include various                           from unnecessary, unofficial questioning and
                                      attachments including statements of                      harassment as to the conduct of their duties.
                                      work, subcontracting plan templates,                     Disclosure would constitute a clear invasion of
                                      bond information, best management                        their privacy. In addition, the names and
                                      practice information, and                                personally identifying information of third parties
                                      question/answer documents.                               was withheld to protect their identity. Release of
                                                                                               their identity would be a clear invasion of privacy.

                                                                                               Exemption (b)(7)(E) – a minimal amount of
                                                                                               information was withheld to protect internal
                                                                                               accounting data codes in order to protect CBP’s
                                                                                               methods for categorizing, identifying, and
                                                                                               navigating CBP databases and records. Release of
                                                                                               this information could enable individuals to
                                                                                               identify and potentially access law enforcement
                                                                                               records and CBP databases without authorization
                                                                                               thereby circumventing the law.

2          Office of Acquisition      Prototype Site Visit PowerPoint Slides.       11         Information withheld in part pursuant to:
           (OA), U.S. Customs and
           Border Protection (CBP),   The Prototype Site Visit PowerPoint                      Exemption (b)(7)(E) – information was withheld
           Washington, DC             slides pertain to a construction site visit              relating to tactical infrastructure construction plans
                                      to San Diego on May 18-19, 2017. The                     that could reveal potential strengths or
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                                                                  2
                               slides cover various aspects of the visit to       vulnerabilities to violators as well as other
                               include agenda, site overview, security            sensitive information relating to U.S. Government
                               procedures, and staging areas.                     border facilities and operations. Releasing this
                                                                                  data could enable individuals to develop
                                                                                  countermeasures to evade detection thereby
                                                                                  circumventing the law.

3   Office of Facilities and   Contracting Officer Unsigned                   2   Documents withheld pursuant to:
    Asset Management           Documents.
    (OFAM), U.S. Customs                                                          Exemption (b)(5) deliberative process privilege –
    and Border Protection      The unsigned contracting officer                   the documents were withheld from disclosure
    (CBP), Washington, DC      documents discuss the upper and lower              because the information in the documents is
                               cost ranges that should be incorporated            predecisional and deliberative in that it consists of
                               into the border wall solicitations in order        evaluations, opinions, observations, and other
                               to encourage as many offerors as possible          findings that CBP employees deemed critical as
                               to submit proposals. In addition, the              part of administering the border wall contracting,
                               documents address labor disputes relative          procurement, and construction process. Releasing
                               to construction of the border wall.                these documents could result in confusion
                                                                                  regarding reasons and rationales that may not
                                                                                  ultimately be the grounds for any actions CBP
                                                                                  may take regarding the contracting, procurement,
                                                                                  and construction process. Moreover, release could
                                                                                  chill open and frank discussions among CBP
                                                                                  employees.

4   Office of Acquisition      Letters to submitters.                         2   The two, one-page letters were released without
    (OA), U.S. Customs and                                                        redaction.
    Border Protection (CBP),   The two, one-page form letters which
    Washington, DC             informed submitters that their proposals
                               were deemed noncompliant.
5   Office of Acquisition      Question/Instruction Document.                 1   The one-page document was released without
    (OA), U.S. Customs and                                                        redaction.
    Border Protection (CBP),   The one-page document sets forth
    Washington, DC             guidance for offerors to consider when
                               presenting their border wall prototype
                               proposals. The document contains
                               design, technical management, and time
                               allotment considerations.
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6   Office of Facilities and   Interagency Acquisitions Supplement.       2   Documents withheld pursuant to:
    Asset Management           Determination and Findings. Authority
    (OFAM), U.S. Customs       to Enter into an Interagency Acquisition       Exemption (b)(5) deliberative process privilege –
    and Border Protection      Under the Economy Act.                         the documents were withheld from disclosure
    (CBP), Washington, DC                                                     because the information in the documents is
                               The unsigned documents set forth certain       predecisional and deliberative in that it consists of
                               findings and opinions regarding                evaluations, opinions, observations, and other
                               interagency acquisitions and border            findings that CBP employees deemed critical with
                               infrastructure. The documents contain          respect to interagency acquisitions as part of
                               estimated timeframes and costs.                administering the border wall contracting,
                                                                              procurement, and construction process. Releasing
                                                                              these documents could result in confusion
                                                                              regarding reasons and rationales that may not
                                                                              ultimately be the grounds for any actions CBP
                                                                              may take regarding the contracting, procurement,
                                                                              and construction process. Moreover, release could
                                                                              chill open and frank discussions among CBP
                                                                              employees.

                                                                              Exemptions (b)(6) and (b)(7)(C) – the names of
                                                                              CBP employees were withheld to protect the CBP
                                                                              employees from unnecessary, unofficial
                                                                              questioning and harassment as to the conduct of
                                                                              their duties. Disclosure would constitute a clear
                                                                              invasion of their privacy.

7   Office of Facilities and   Determination of Best Procurement          6   Documents withheld pursuant to:
    Asset Management           Approach for Assisted Acquisitions.
    (OFAM), U.S. Customs                                                      Exemption (b)(5) deliberative process privilege –
    and Border Protection      The unsigned documents set forth               the documents were withheld from disclosure
    (CBP), Washington, DC      findings and opinions regarding the best       because the information in the documents is
                               approach for assisted acquisitions. In         predecisional and deliberative in that it consists of
                               this respect, the documents specifically       evaluations, opinions, observations, and other
                               contains findings, alternatives,               findings that CBP employees deemed critical with
                               advantages, disadvantages, and                 respect to assisted acquisitions as part of
                               recommendations developed by CBP               administering the border wall contracting,
                               employees as CBP administers the border        procurement, and construction process. Releasing
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                               infrastructure contracting, procurement,        these documents could result in confusion
                               and construction process.                       regarding reasons and rationales that may not
                                                                               ultimately be the grounds for any actions CBP
                                                                               may take regarding the contracting, procurement,
                                                                               and construction process. Moreover, release could
                                                                               chill open and frank discussions among CBP
                                                                               employees.

                                                                               Exemptions (b)(6) and (b)(7)(C) – the names of
                                                                               CBP employees were withheld to protect the CBP
                                                                               employees from unnecessary, unofficial
                                                                               questioning and harassment as to the conduct of
                                                                               their duties. Disclosure would constitute a clear
                                                                               invasion of their privacy.

8   Office of Facilities and   Terms and Conditions for Assisted           9   Documents withheld pursuant to:
    Asset Management           Acquisitions.
    (OFAM), U.S. Customs                                                       Exemption (b)(5) deliberative process privilege –
    and Border Protection      The unsigned documents set forth terms          the documents were withheld from disclosure
    (CBP), Washington, DC      and conditions governing assisted               because the information in the documents is
                               acquisitions. With respect to terms and         predecisional and deliberative in that it consists of
                               conditions and assisted acquisitions, the       evaluations, opinions, observations, and other
                               documents contains employee input               findings that CBP employees deemed critical with
                               pertaining to purpose, scope, description       respect to assisted acquisitions as part of
                               of products or services to be acquired,         administering the border wall contracting,
                               period of agreement, roles of servicing         procurement, and construction process. Releasing
                               and requesting agency, billing and              these documents could result in confusion
                               payment terms, termination and dispute          regarding reasons and rationales that may not
                               guidance, and amendments.                       ultimately be the grounds for any actions CBP
                                                                               may take regarding the contracting, procurement,
                                                                               and construction process. Moreover, release could
                                                                               chill open and frank discussions among CBP
                                                                               employees.

                                                                               Exemptions (b)(6) and (b)(7)(C) – the names of
                                                                               CBP employees were withheld to protect the CBP
                                                                               employees from unnecessary, unofficial
                                                                               questioning and harassment as to the conduct of
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                                                                                their duties. Disclosure would constitute a clear
                                                                                invasion of their privacy.

9   Office of Facilities and   Interagency Agreement Statement of          10   Documents withheld pursuant to:
    Asset Management           Work Between U.S. Customs and Border
    (OFAM), U.S. Customs       Protection and U.S. Army Corps of                Exemption (b)(5) deliberative process privilege –
    and Border Protection      Engineers.                                       the documents were withheld from disclosure
    (CBP), Washington, DC                                                       because the information in the documents is
                               The unsigned 10-page statement of work           predecisional and deliberative in that it consists of
                               pertains to construction of border               evaluations, opinions, observations, and other
                               infrastructure. The documents set forth          findings that CBP employees deemed critical with
                               the objective/purpose of the statement of        respect to interagency statements of work as part
                               work, scope, requirements, an estimated          of administering the border wall contracting,
                               cost table, and performance and funding          procurement, and construction process. Releasing
                               provisions.                                      these documents could result in confusion
                                                                                regarding reasons and rationales that may not
                                                                                ultimately be the grounds for any actions CBP
                                                                                may take regarding the contracting, procurement,
                                                                                and construction process. Moreover, release could
                                                                                chill open and frank discussions among CBP
                                                                                employees.

                                                                                Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                                personally identifying information of CBP
                                                                                employees were withheld to protect the CBP
                                                                                employees from unnecessary, unofficial
                                                                                questioning and harassment as to the conduct of
                                                                                their duties. Disclosure would constitute a clear
                                                                                invasion of their privacy.

                                                                                Exemption (b)(7)(E) – internal accounting and
                                                                                funding codes were withheld in order to protect
                                                                                CBP’s methods for categorizing, identifying, and
                                                                                navigating CBP databases and records. Release of
                                                                                this information could enable individuals to
                                                                                identify and potentially access law enforcement
                                                                                records and CBP databases without authorization
                                                                                thereby circumventing the law.
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10   Office of Facilities and   Border Wall Funding Documents.             4   Documents withheld pursuant to:
     Asset Management
     (OFAM), U.S. Customs       The four pages of documents are                Exemption (b)(5) deliberative process privilege –
     and Border Protection      spreadsheets that set forth proposed           the documents were withheld from disclosure
     (CBP), Washington, DC      levels of funding for various aspects of       because the information in the documents is
                                the border wall and other infrastructure       predecisional and deliberative in that it consists of
                                projects. Page 4 indicates that the            funding calculations, evaluations, opinions,
                                infrastructure and technology                  observations, and other findings that CBP
                                investments are “notional.”                    employees deemed critical as part of administering
                                                                               the border wall contracting, procurement, and
                                                                               construction process. Releasing these documents
                                                                               could result in confusion regarding reasons and
                                                                               rationales that may not ultimately be the grounds
                                                                               for any actions CBP may take regarding the
                                                                               contracting, procurement, and construction
                                                                               process. Moreover, release could chill open and
                                                                               frank discussions among CBP employees.

11   Office of Facilities and   Proposed Reponses to Congressional         6   Documents withheld pursuant to:
     Asset Management           Questions.
     (OFAM), U.S. Customs                                                      Exemption (b)(5) deliberative process privilege –
     and Border Protection      The six pages of documents contain             the documents were withheld from disclosure
     (CBP), Washington, DC      proposed responses to questions                because the information in the documents is
                                presented by CBP’s Office of                   predecisional and deliberative in that it consists of
                                Congressional Affairs (OCA) and                evaluations, opinions, observations, and other
                                Members of Congress. The documents             findings that CBP employees deemed critical as
                                contain information about border wall          part of administering the border wall and
                                and other infrastructure construction          infrastructure contracting, procurement, and
                                projects, budget issues relating to the        construction process. Releasing these documents
                                projects, U.S. Border Patrol facility          could result in confusion regarding reasons and
                                information including forward operating        rationales that may not ultimately be the grounds
                                base data, and staff opinions on these         for any actions CBP may take regarding the
                                matters.                                       contracting, procurement, and construction
                                                                               process. Moreover, release could chill open and
                                                                               frank discussions among CBP employees.

                                                                               Exemption (b)(7)(E) – specific information was
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                                                               7
                                                                               withheld pertaining to U.S. Border Patrol forward
                                                                               operating bases, which are forward facilities in
                                                                               remote locations for the sustainment of sector
                                                                               and/or station tactical operations. Release of this
                                                                               information could enable individuals to create a
                                                                               blueprint of specific station activity thereby
                                                                               revealing the comparative strengths and
                                                                               weaknesses of various U.S. Border Patrol stations.
                                                                               This information could enable individuals to
                                                                               develop countermeasures to evade border security
                                                                               measures thereby circumventing the law.

12   Office of Facilities and   Border Wall/Barrier System                 7   Documents withheld pursuant to:
     Asset Management           Communication and Outreach Strategy
     (OFAM), U.S. Customs       and Plan Outline.                              Exemption (b)(5) deliberative process privilege –
     and Border Protection                                                     the documents were withheld from disclosure
     (CBP), Washington, DC      The seven pages of documents set forth a       because the information in the documents is
                                proposed comprehensive and coordinated         predecisional and deliberative in that it consists of
                                communication and outreach strategy            a draft that CBP employees created as part of
                                regarding the border wall. The                 developing the border wall communication and
                                documents provide the background of the        outreach strategy. Releasing these documents
                                project and establish objectives and           could result in confusion regarding reasons and
                                goals. The pages are clearly marked with       rationales that may not ultimately be the grounds
                                “draft.”                                       for any actions CBP may take regarding the border
                                                                               wall communication and outreach strategy.
                                                                               Moreover, release could chill open and frank
                                                                               discussions among CBP employees.

                                                                               In addition, “draft” documents are a category of
                                                                               document that is particularly likely to be exempt
                                                                               under the deliberative process privilege.

                                                                               Exemptions (b)(6) and (b)(7)(C) – the names of
                                                                               CBP employees were withheld to protect the CBP
                                                                               employees from unnecessary, unofficial
                                                                               questioning and harassment as to the conduct of
                                                                               their duties. Disclosure would constitute a clear
                                                                               invasion of their privacy.
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13   Office of Facilities and   Internal White Paper Documents              5   Documents withheld pursuant to:
     Asset Management           Pertaining to Acquiring Prototype Wall
     (OFAM), U.S. Customs       Designs.                                        Exemption (b)(5) deliberative process privilege –
     and Border Protection                                                      the documents were withheld from disclosure
     (CBP), Washington, DC      The five pages of documents set forth the       because the information in the documents is
                                intent of the requests for proposals            predecisional and deliberative in that it consists of
                                (RFP’s), evaluation considerations, and         evaluations, opinions, observations, and other
                                other factors relating to the award of          findings that CBP employees deemed critical with
                                prototype contracts. The documents are          respect to the RFP’s as part of administering the
                                unsigned.                                       border wall contracting, procurement, and
                                                                                construction process. Releasing these documents
                                                                                could result in confusion regarding reasons and
                                                                                rationales that may not ultimately be the grounds
                                                                                for any actions CBP may take regarding the
                                                                                contracting, procurement, and construction
                                                                                process. Moreover, release could chill open and
                                                                                frank discussions among CBP employees.

14   Office of Facilities and   Draft Schedules.                            2   Documents withheld pursuant to:
     Asset Management
     (OFAM), U.S. Customs       Two pages of draft schedules that set           Exemption (b)(5) deliberative process privilege –
     and Border Protection      forth tentative timeframes for events           the documents were withheld from disclosure
     (CBP), Washington, DC      related to the border wall prototype            because the information in the documents is
                                RFP’s. The draft schedules include              predecisional and deliberative in that it consists of
                                timeframes for RFP development, award,          a draft timeline that was created as part of the RFP
                                and review.                                     process but never finalized. Releasing these
                                                                                documents could result in confusion regarding
                                                                                reasons and rationales that may not ultimately be
                                                                                the grounds for any actions CBP may take
                                                                                regarding the contracting, procurement, and
                                                                                construction process. Moreover, release could
                                                                                chill open and frank discussions among CBP
                                                                                employees.

                                                                                In addition, “draft” documents are a category of
                                                                                document that is particularly likely to be exempt
                                                                                under the deliberative process privilege.
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                                                                                 Exemptions (b)(6) and (b)(7)(C) – the names of
                                                                                 CBP employees were withheld to protect the CBP
                                                                                 employees from unnecessary, unofficial
                                                                                 questioning and harassment as to the conduct of
                                                                                 their duties. Disclosure would constitute a clear
                                                                                 invasion of their privacy.

15   Office of Facilities and   Internal Risk Register.                      1   Document withheld pursuant to:
     Asset Management
     (OFAM), U.S. Customs       The internal risk register identifies and        Exemption (b)(5) deliberative process privilege –
     and Border Protection      describes risk associated with tactical          the document was withheld from disclosure
     (CBP), Washington, DC      infrastructure replacement. In order to          because the information in the document is
                                manage risk, the register includes a             predecisional and deliberative in that it consists of
                                number of data fields including risk             evaluations, calculations, opinions, observations,
                                category, probability of risk, risk level,       and other findings that CBP employees deemed
                                dollar impact, and milestone affected.           critical with respect to risk management as part of
                                                                                 administering the border wall and infrastructure
                                                                                 contracting, procurement, and construction
                                                                                 process. Releasing this document could result in
                                                                                 confusion regarding reasons and rationales that
                                                                                 may not ultimately be the grounds for any actions
                                                                                 CBP may take regarding the contracting,
                                                                                 procurement, and construction process. Moreover,
                                                                                 release could chill open and frank discussions
                                                                                 among CBP employees.

                                                                                 Exemptions (b)(6) and (b)(7)(C) – the name of a
                                                                                 CBP employee was withheld to protect the CBP
                                                                                 employee from unnecessary, unofficial
                                                                                 questioning and harassment as to the conduct of
                                                                                 their duties. Disclosure would constitute a clear
                                                                                 invasion of their privacy.

                                                                                 Exemption (b)(7)(E) – specific information was
                                                                                 withheld pertaining to the allocation of U.S.
                                                                                 Border Patrol resources during the construction of
                                                                                 infrastructure. Release of this information could
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                                                                                   enable individuals to create a blueprint of specific
                                                                                   station activity during construction thereby
                                                                                   revealing the comparative strengths and
                                                                                   weaknesses of various U.S. Border Patrol stations.
                                                                                   This information could enable individuals to
                                                                                   develop countermeasures to evade border security
                                                                                   measures thereby circumventing the law.

16   Office of Facilities and   Border Patrol Facilities and Tactical         33   Documents withheld pursuant to:
     Asset Management           Infrastructure & Air and Marine PMO
     (OFAM), U.S. Customs       Wall Program – Project Requirements                Exemption (b)(5) deliberative process privilege –
     and Border Protection      Document.                                          the documents were withheld from disclosure
     (CBP), Washington, DC                                                         because the information in the documents is
                                The 33 pages of documents set forth                predecisional and deliberative in that it consists of
                                preliminary considerations for the border          evaluations, opinions, estimates, observations, and
                                wall infrastructure project. In this               other findings that CBP employees deemed critical
                                respect, the documents contain business            with respect to border infrastructure project
                                partner requirements, objectives,                  requirements as part of administering the border
                                diagrams, exhibits, and estimates that             wall and infrastructure contracting, procurement,
                                pertain to the wall and other tactical             and construction process. Releasing these
                                infrastructure along the border. The               documents could result in confusion regarding
                                documents describe in detail certain               reasons and rationales that may not ultimately be
                                weaknesses in current border                       the grounds for any actions CBP may take
                                infrastructure that potential upgrades will        regarding the contracting, procurement, and
                                cure.                                              construction process. Moreover, release could
                                                                                   chill open and frank discussions among CBP
                                                                                   employees.

                                                                                   Exemptions (b)(6) and (b)(7)(C) – the names of
                                                                                   CBP employees were withheld to protect the CBP
                                                                                   employees from unnecessary, unofficial
                                                                                   questioning and harassment as to the conduct of
                                                                                   their duties. Disclosure would constitute a clear
                                                                                   invasion of their privacy.

                                                                                   Exemption (b)(7)(E) – specific information was
                                                                                   withheld pertaining to the allocation of U.S.
                                                                                   Border Patrol resources during the construction of
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                                                                               border infrastructure. Release of this information
                                                                               could enable individuals to create a blueprint of
                                                                               specific station activity during construction
                                                                               thereby revealing the comparative strengths and
                                                                               weaknesses of various U.S. Border Patrol stations.
                                                                               This information could enable individuals to
                                                                               develop countermeasures to evade border security
                                                                               measures thereby circumventing the law.

17   Office of Facilities and   CBP email dated May 22, 2017 (Subject:     1   Document withheld pursuant to:
     Asset Management           Prototype Testing Estimate).
     (OFAM), U.S. Customs                                                      Exemption (b)(5) deliberative process privilege –
     and Border Protection      One-page email sets forth an estimate of       the email was withheld from disclosure because
     (CBP), Washington, DC      the dollar amount that will be required        the information in the email is predecisional and
                                for prototype testing.                         deliberative in that it consists of evaluations and
                                                                               estimates regarding prototype testing. Releasing
                                                                               this information could result in confusion
                                                                               regarding reasons and rationales that may not
                                                                               ultimately be the grounds for any actions CBP
                                                                               may take regarding these decisions. Moreover,
                                                                               release could chill open and frank discussions
                                                                               among CBP employees.

                                                                               Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                               personally identifying information of CBP
                                                                               employees was withheld to protect the CBP
                                                                               employees from unnecessary, unofficial
                                                                               questioning and harassment as to the conduct of
                                                                               their duties. Disclosure would constitute a clear
                                                                               invasion of their privacy.

18   Office of Facilities and   CBP email dated May 22, 2017 (Subject:     1   Document withheld pursuant to:
     Asset Management           HSBP1017R0022 A009 Q&A.docx).
     (OFAM), U.S. Customs                                                      Exemption (b)(5) deliberative process privilege –
     and Border Protection      One-page email pertains to the effect of       the email was withheld from disclosure because
     (CBP), Washington, DC      site allotment on pricing.                     the information in the email is predecisional and
                                                                               deliberative in that it consists of internal CBP
                                                                               deliberations pertaining to the effect of
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                                                                              construction site allotment on pricing. Releasing
                                                                              this information could result in confusion
                                                                              regarding reasons and rationales that may not
                                                                              ultimately be the grounds for any actions CBP
                                                                              may take regarding these decisions. Moreover,
                                                                              release could chill open and frank discussions
                                                                              among CBP employees.

                                                                              Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                              personally identifying information of CBP
                                                                              employees was withheld to protect the CBP
                                                                              employees from unnecessary, unofficial
                                                                              questioning and harassment as to the conduct of
                                                                              their duties. Disclosure would constitute a clear
                                                                              invasion of their privacy.

19   Office of Facilities and   CBP email dated March 17, 2017            1   Information withheld pursuant to:
     Asset Management           (Subject: RFP’s are Posted)
     (OFAM), U.S. Customs                                                     Exemptions (b)(6) and (b)(7)(C) – the names and
     and Border Protection      One-page email announces that the             personally identifying information of CBP
     (CBP), Washington, DC      RFP’s are posted.                             employees was withheld in the email to protect the
                                                                              CBP employees from unnecessary, unofficial
                                                                              questioning and harassment as to the conduct of
                                                                              their duties. Disclosure would constitute a clear
                                                                              invasion of their privacy.

20   Office of Facilities and   CBP email chain dated March 27, 2017,     3   Documents withheld pursuant to:
     Asset Management           through March 28, 2017 (Subject: CBP
     (OFAM), U.S. Customs       News Release: // Wall Street Journal).        Exemption (b)(5) deliberative process privilege –
     and Border Protection                                                    the emails were withheld from disclosure because
     (CBP), Washington, DC      Three pages of emails contain internal        the information in the emails is predecisional and
                                discussions pertaining to bonding             deliberative in that it consists of internal CBP
                                requirements and internal deliberations       deliberations pertaining to bonding requirements
                                on how to handle border wall bonding          with respect to construction of the border wall.
                                issues.                                       Releasing this information could result in
                                                                              confusion regarding reasons and rationales that
                                                                              may not ultimately be the grounds for any actions
                                                                              CBP may take regarding these decisions.
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                                                                 13
                                                                                Moreover, release could chill open and frank
                                                                                discussions among CBP employees.

                                                                                Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                                personally identifying information of CBP
                                                                                employees was withheld to protect the CBP
                                                                                employees from unnecessary, unofficial
                                                                                questioning and harassment as to the conduct of
                                                                                their duties. Disclosure would constitute a clear
                                                                                invasion of their privacy.

21   Office of Facilities and   Draft RFP Language with Comments.           7   Documents withheld pursuant to:
     Asset Management
     (OFAM), U.S. Customs       The seven pages of documents contain            Exemption (b)(5) – the documents were withheld
     and Border Protection      draft language for the RFP’s with               from disclosure pursuant to Exemption (b)(5)
     (CBP), Washington, DC      editorial comments. The editorial               deliberative process privilege because the
                                comments include questions,                     information in the documents is predecisional and
                                suggestions, and clarifications regarding       deliberative in that it consists of draft language
                                the RFP’s.                                      that CBP employees created as part of developing
                                                                                the border wall RFP’s. Releasing these documents
                                                                                could result in confusion regarding reasons and
                                                                                rationales that may not ultimately be the grounds
                                                                                for any actions CBP may take regarding the border
                                                                                wall RFP’s. Moreover, release could chill open
                                                                                and frank discussions among CBP employees.

                                                                                In addition, “draft” documents are a category of
                                                                                document that is particularly likely to be exempt
                                                                                under the deliberative process privilege.

                                                                                Exemptions (b)(6) and (b)(7)(C) – the name of a
                                                                                CBP employee was withheld to protect the CBP
                                                                                employee from unnecessary, unofficial
                                                                                questioning and harassment as to the conduct of
                                                                                their duties. Disclosure would constitute a clear
                                                                                invasion of their privacy.

22   Office of Facilities and   Wall Outreach and Communications            1   The document was released without redaction.
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     Asset Management            Meeting Agenda.
     (OFAM), U.S. Customs
     and Border Protection       The one-page document sets forth the
     (CBP), Washington, DC       agenda for a meeting on April 10, 2017.

23   Office of Information and   CBP email chain dated March 21, 2017       6   Documents withheld pursuant to:
     Technology (OIT), U.S.      (Subject: RE: comment and review for
     Customs and Border          both border wall solicitations, done by        Exemption (b)(5) – the six pages of emails were
     Protection (CBP),           internal government employee with              withheld from disclosure pursuant to Exemption
     Washington, DC              MILCON experience).                            (b)(5) deliberative process privilege because the
                                                                                information in the emails is predecisional and
                                 The six pages of emails contain internal       deliberative in that it consists of internal
                                 government discussions pertaining to the       government deliberations pertaining to the
                                 government procurement process.                procurement process, in particular with respect to
                                                                                the border wall RFP process. Releasing this
                                                                                information could result in confusion regarding
                                                                                reasons and rationales that may not ultimately be
                                                                                the grounds for any actions CBP may take
                                                                                regarding these decisions. Moreover, release
                                                                                could chill open and frank discussions among CBP
                                                                                employees.

                                                                                Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                                personally identifying information of U.S.
                                                                                Government employees were withheld to protect
                                                                                the employees from unnecessary, unofficial
                                                                                questioning and harassment as to the conduct of
                                                                                their duties. Disclosure would constitute a clear
                                                                                invasion of their privacy.

24   Office of Information and   CBP email dated March 23, 2017             1   Document withheld pursuant to:
     Technology (OIT), U.S.      (Subject: RE: Solicitation No.:
     Customs and Border          HSBP1017R0022 (Requisition No.:                Exemption (b)(5) deliberative process privilege –
     Protection (CBP),           20098173)/Solicitation No.:                    the email was withheld because the information in
     Washington, DC              HSB1017R0023 (Requisition No.:                 the email is predecisional and deliberative in that it
                                 20098235); [Questions2]).                      consists of internal CBP deliberations pertaining to
                                                                                the circumstances under which extensions to
                                 One-page email containing CBP                  satisfy RFP requirements should be granted.
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                                 employee opinions regarding the                  Releasing this information could result in
                                 circumstances under which an extension           confusion regarding reasons and rationales that
                                 to satisfy RFP requirements should be            may not ultimately be the grounds for any actions
                                 granted.                                         CBP may take regarding these decisions.
                                                                                  Moreover, release could chill open and frank
                                                                                  discussions among CBP employees.

                                                                                  Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                                  personally identifying information of CBP
                                                                                  employees was withheld to protect the CBP
                                                                                  employees from unnecessary, unofficial
                                                                                  questioning and harassment as to the conduct of
                                                                                  their duties. Disclosure would constitute a clear
                                                                                  invasion of their privacy.

25   Office of Information and   CBP Emails.                                182   Information withheld pursuant to:
     Technology (OIT), U.S.
     Customs and Border          Emails provided by OIT which were sent           Exemption (b)(4) – a small amount of information
     Protection (CBP),           to and from                                      was withheld pursuant to Exemption (b)(4) in
     Washington, DC              BorderWallDesignBuild@cbp.dhs.gov.               order to protect certain commercial information
                                 The emails that were provided contain            that is exempt from disclosure.
                                 questions or concerns regarding CBP’s
                                 RFP’s along with the responses that were         Exemption (b)(5) deliberative process privilege –
                                 provided to those questions or concerns.         information was withheld in the emails to protect
                                 Of the 182 pages of emails, 110 pages            information pertaining to internal evaluations and
                                 were released with redactions, and 72            opinions regarding the RFP’s that CBP employees
                                 pages were released without redaction.           deemed critical as part of administering the border
                                                                                  wall RFP process. Releasing this information in
                                                                                  the emails could result in confusion regarding
                                                                                  reasons and rationales that may not ultimately be
                                                                                  the grounds for any actions CBP may take
                                                                                  regarding the border wall RFP process. Moreover,
                                                                                  release could chill open and frank discussions
                                                                                  among CBP employees.

                                                                                  Exemptions (b)(6) and (b)(7)(C) – the names and
                                                                                  personally identifying information of CBP
                                                                                  employees was withheld to protect the CBP
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                                                                                   employees from unnecessary, unofficial
                                                                                   questioning and harassment as to the conduct of
                                                                                   their duties. Disclosure would constitute a clear
                                                                                   invasion of their privacy. In addition, the names
                                                                                   and personally identifying information of third
                                                                                   parties was withheld to protect their identity.
                                                                                   Release of their identity would be a clear invasion
                                                                                   of privacy.

26   Office of Information and   Proposals.                                 5482   Documents withheld pursuant to:
     Technology (OIT), U.S.
     Customs and Border          There were 152 proposals provided by              Exemption (b)(3) - proposals in the possession or
     Protection (CBP),           OIT that were sent to                             control of a Federal agency were specifically
     Washington, DC              BorderWallDesignBuild@cbp.dhs.gov.                prohibited from being disclosed to any person
                                 The proposals were submitted to this              under the FOIA pursuant to the National Defense
                                 email address in response to the CBP              Authorization Act of 1997 (codified at 41 U.S.C. §
                                 RFP’s. The proposals consisted of                 4702b (m) and currently located at 41 U.S.C. §
                                 proposed contracts, concept papers, cost          4702 (b)). Under 41 U.S.C. § 4702 (c), Federal
                                 estimates, statements of qualifications,          agencies are prohibited from releasing any such
                                 summary matrix documents, drawings,               proposals unless a proposal is set forth or
                                 blueprints, personal statements, bonding          incorporated by reference in a contract entered into
                                 information, risk and mitigation charts,          between the agency and the contractor that
                                 capability statements, and statements of          submitted the proposal. Pursuant to 41 U.S.C.
                                 experience.                                       §4702 (a), “proposal” is defined as a proposal,
                                                                                   including a technical, management, or cost
                                                                                   proposal, submitted by a contractor in response to
                                                                                   the requirements of a solicitation for a competitive
                                                                                   proposal. The documents that are being withheld
                                                                                   pursuant to Exemption (b)(3) in this case are
                                                                                   considered to be proposals under the statute. In
                                                                                   addition, CBP did not select these documents for
                                                                                   inclusion in a contract or otherwise incorporate
                                                                                   them into a contract by reference. Therefore, the
                                                                                   proposal documents were withheld under
                                                                                   Exemption (b)(3).

                                                                                   Exemption (b)(4) – documents were withheld
                                                                                   pursuant to Exemption (b)(4) in order to protect
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                                                  information the release of which would cause
                                                  substantial harm to the competitive positions of the
                                                  various submitters. Examples of information that
                                                  has been withheld pursuant to Exemption (b)(4) is
                                                  data pertaining to contractor resources dedicated to
                                                  construction, contractor border security
                                                  capabilities, company financial data, and other
                                                  contract management information that is unique to
                                                  each submitter such as specific measures
                                                  undertaken to enhance contract performance. The
                                                  information that was withheld is clearly
                                                  commercial and was obtained by a “person” within
                                                  the meaning of Exemption (b)(4). In determining
                                                  that release of the information would cause
                                                  substantial harm to the competitive positions of the
                                                  submitters, it was noted that releasing the
                                                  information would reveal the competitive
                                                  vulnerabilities and operational capabilities of
                                                  various firms. This would allow competitors to
                                                  exploit this information for their benefit by
                                                  enhancing their ability to obtain future government
                                                  contracts through altering their business strategies.

                                                  Exemptions (b)(6) and (b)(7)(C) – the names and
                                                  personally identifying information of CBP
                                                  employees was withheld to protect the CBP
                                                  employees from unnecessary, unofficial
                                                  questioning and harassment as to the conduct of
                                                  their duties. Disclosure would constitute a clear
                                                  invasion of their privacy. In addition, the names
                                                  and personally identifying information of third
                                                  parties was withheld to protect their identity.
                                                  Release of their identity would be a clear invasion
                                                  of privacy.

                                                  Exemption (b)(7)(E) – a small amount of specific
                                                  information pertaining to the actual border wall
                                                  was withheld from disclosure. This information
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                                                  addresses detection and other wall capabilities.
                                                  Release of this information would enable
                                                  individuals to develop countermeasures to evade
                                                  border security measures thereby circumventing
                                                  the law.
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                          EXHIBIT B
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                                                                     U.S. Department of Homeland Security
                                                                     Washington, DC 20229


                                                                     U.S. Customs and
                                                                     Border Protection


                                                           DIS-3 OT:RR:RDL:F APL
                                                           CBP-AP-2018-006188 EAC
                              SEP 1 o2018
Mr. Michael Corey
Reveal
1400 65th St.
Suite 200
Emeryville, CA 94608

Re: Freedom oflnformation Act Appeal of File No. CBP-2017-051381

Dear Mr. Corey:

       This is in reply to a letter, with exhibits, dated October 17, 2017, to U.S. Customs and
Border Protection ("CBP") which was received by our office on October 27, 2017. The letter
was submitted by Attorney D. Victoria Barenetsky on your behalf and pertains to a Freedom of
Information Act ("FOIA") (5 U.S.C. § 552) request you filed with CBP. As you filed the initial
FOIA request and maintain a FOIAOnline account linked to this case, we are directing our
response to this matter to your attention.

       The above-referenced letter appeals the August 3, 2017, response of the CBP FOIA
Division to your April 24, 2017, FOIA request for certain records. In this respect, you
requested:

       Any and all submissions, records, documents, white papers, memoranda and/or alike
       material related to border fence/border wall contract proposals, i.e. HSBP l O17R0022,
       HSBPl 017R0023, 2017-JC-RT-0001 and 2017-DHS-OCPO-RFI-0001 from the date
       of posting to the present. Relevant records include but are not limited to:- Phase I
       proposal submissions - Notifications sent to submitters of proposals, whether
       successful or no - Phase II proposal submissions - All schedules, calendars and
       itineraries related to prototype presentations - Any and all recordings of prototype
       presentations - Any maps, GIS data, geotechnical data or site conditions information
       regarding the prototype site - Any materials related to scoring proposals and/or testing
       of prototypes and/or mockups - Results and/or scoring of prototypes and mockups -
       Border Patrol-approved design standards for fence/wall - Aerial and/or satellite photos
       of the prototype location - Evaluations, assessments, analyses, summaries, reviews
       and/or reports regarding the bid, submission, evaluation and prototype process.

In response to your request, the FOIA Division stated that a search of CBP databases produced
records that were responsive to your request. However, the FOIA Division stated that the
responsive records were properly withheld from disclosure pursuant to FOIA Exemption (b)(4)
(5 U.S.C. § 552 (b)(4)).
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        You appeal the FOIA Division' s determination to withhold the responsive documents
from disclosure. Your submission states that there are no trade secrets in the requested
documents which should be withheld pursuant to Exemption (b)(4). Moreover, your appeal
asserts that the Requests for Proposals ("RFP ' s") repeatedly indicated that any information
gathered through the proposal process would be in the public domain and not be considered
confidential. Your appeal highlights specific portions of various CBP documents to support
this position. 1 Portions of the specifically-identified documents state "the Government is not
open to any form of proprietary design or equipment," "No parts of this contract are classified,"
and, "All such materials are to remain within the public domain." For these reasons, your
appeal argues that the documents also cannot be considered commercial or financial
information that is privileged or confidential under Exemption (b)(4). Lastly, you appeal the
FOIA Division' s determination to withhold the records in their entirety, stating that the
decision to withhold the records in their entirety was overbroad and that there should be
segregable information in the documents which should be released.

        In order to process your appeal, we considered the parameters of your injtial request, the
FOIA Division' s response to your initial request, and the arguments set forth in your appeal.
As indicated above, you appeal the FOIA Division' s determination stating that there should be
segregable information in the documents that were withheld in their entirety. We have
reviewed responsive records that were provided by the CBP Office of Facilities and Asset
Management ("OFAM"), CBP Office of Information Technology ("OIT"), and CBP Office of
Acquisition ("OA"). We note that OFAM, OIT, and OA are witrun CBP Enterprise Services
and that these were the most appropriate components to contact within CBP concerning your
FOIA appeal. The search by these offices produced 6,762 pages ofresponsive documents. The
documents consist of records such as contractor bid and proposal documents, an interagency
acquisitions supplement draft document, best procurement approach for assisted acquisition
draft document, terms and conditions for assisted acquisitions draft, border wall funding draft
spreadsheets, draft interagency agreements, proposed responses to U.S. Senator questions with
edits, border wall communication and outreach strategy plan and outline, internal white paper
draft documents pertaining to acquiring prototype wall designs, draft schedules pertaining to
border wall matters, internal risk registers, U.S . Border Patrol facilities and tactical
infrastructure and Air and Marine PMO wall project requirements document, maps with
proposed tactical infrastructure projects, contracts, amendments, and various emails. We note
that a number of the documents (for example, the contract and amendment documents) are
publicly available on the Federal Business Opportunities website at www.fbo.gov and have also
been provided as attachments to your appeal. Therefore, some of the documents that are being
released to you with trus decision may be duplicative of what you already have. However, we
have processed all of the documents that were provided by OFAM, OIT, and OA in order to
ensure a thorough review of your appeal was completed.

       Upon our review of the 6,762 pages of documents under consideration in this case, we
have determined that 5,588 of the pages will be withheld from disclosure pursuant to FOIA
Exemptions (b)(3), (b)(4), (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E) (5 U.S .C. §§ 552 (b)(3),

1 The documents are set forth as Exhibits in your submission. The Exhibits consist of Standard Form 30

(Amendment of Solicitation/Modification of Contract) amendments in which CBP responded to questions
pertaining to the RFP 's or incorporated revisions to the solicitations that were made as a result of the answers to
certain questions .
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(b)(4), (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E)). In addition, we have determined that 155 pages
of documents will be released to you with redactions made pursuant to FOIA Exemptions
(b)(4), (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E). Lastly, we have determined that the remaining
1,019 pages of documents will be released to you without redaction. Below is a discussion of
how we applied the FOIA Exemptions to the documents that are under consideration in this
case.

        The FOIA "was enacted to facilitate public access to Government documents." U.S.
Dep' t of State v. Ray, 502 U.S . 164, 173 (1991). The predominant objective of the FOIA is the
disclosure of executive branch information that is maintained by the Federal Government to the
public unless the requested records contain certain categories of information that are exempt or
excluded from compelled disclosure. FOIA provides nine exemptions and three exclusions
pursuant to which an agency may withhold requested information. Thus, the public's right to
government information is not without limits. However, FOIA exemptions are to be narrowly
construed, and the burden is on the government to demonstrate that the materials sought may be
withheld due to one or more of the exemptions. In any event, the FOIA provides that any non-
exempt information that is reasonably segregable from the requested records must be disclosed.
The segregability requirement limits claims of exemption to discrete units of information; to
withhold an entire document, all units of information in that document must fall within a
statutory exemption. See, Trans-Pacific Policing Agreement v. U.S. Customs Serv., 177 F. 3d
1022, 1027 (D.C. Cir. 1999).

         Exemption (b)(3) of the FOIA protects information specifically exempted from
disclosure by another statute, if the statute (A) requires that the matters be withheld from the
public in such a manner as to leave no discretion on the issue, or (B) established particular
criteria for withholding or refers to particular types of matters to be withheld. In applying
Exemption (b)(3 ), we initially note that The Court of Appeals for the District of Columbia
Circuit has held that records may be withheld under the authority of another statute pursuant to
Exemption (b)(3) "if - and only if - that statute meets the requirements of Exemption 3,
including the threshold requirement that it specifically exempt matters from disclosure."
Reporters Comm. for Freedom of the Press v. DOJ, 816 F.2d 730, 734 (D.C. Cir. 1987),
modified on other grounds, 831 F.2d 1124 (D.C. Cir. 1987), rev' d on other grounds, 489 U.S.
749 (1989). In Reporters Committee, the D.C. Circuit further stated that " [a] statute that is
claimed to qualify as an Exemption 3 withholding statute must, on its face, exempt matters
from disclosure. [The court] must find a congressional purpose to exempt matters from
disclosure in the actual words or the statute (or at least in the legislative history of FOIA) - not
in the legislative history of the claimed withholding statute, nor in an agency' s interpretation of
the statute." Reporters Comm., 816 F.2d at 735 ; see also, Pub. Citizen, 533 F.3d at 813-14;
Nat'l Ass'n of Home Builders, 309 F.3d at 37 (finding that statute failed to qualify as
withholding statute under Exemption (b)(3)).

       Proposals in the possession or control of a Federal agency were specifically prohibited
from being disclosed to any person under the FOIA pursuant to The National Defense
Authorization Act of 1997 (codified at 41 U.S.C. § 253b(m) and currently located at 41 U.S.C .
§ 4702(b)). Under 41 U.S.C. § 4702(c), Federal agencies are prohibited from releasing any
such proposals unless a proposal is set forth or incorporated by reference in a contract entered

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into between the agency and the contractor that submitted the proposal. " Proposal" is defined
under the statute as a proposal, including a technical, management, or cost proposal, submitted
by a contractor in response to the requirements of a solicitation for a competitive proposal. 41
U.S.C. § 4702(a).

         In this case, the submissions that were submitted in response to the RFP's for prototype
builds of the border wall are considered to be proposals as defined under 41 U.S.C. § 4702(a).
In this respect, the submissions contain concept papers, proposed contracts, financial
information, technical diagrams, and other related information. We also note that the proposals
that were submitted were not selected by CBP for inclusion in a contract or otherwise
incorporated into a contract by reference. As noted above, any such proposals are clearly
prohibited from release by statute. See also, Hornbostel v U.S. Dep' t of the Interior, 305 F.
Supp. 2d 21 , 30 (D.D.C. 2003), summary affirmance granted, No. 03-5257, 2004 WL 1900562
(D.C. Cir. Aug. 25, 2004). Therefore, we have applied Exemption (b)(3) to withhold 5,482
pages of these documents from release.

        Exemption (b)(4) of the FOIA protects trade secrets and commercial or financial
information obtained from a person [that is] privileged and confidential. Redactions have been
made pursuant to Exemption (b)( 4) in this case to withhold information pertaining to contractor
resources that are dedicated to construction, contractor border security capabilities, financial
data, and other contract management information that is unique to each submitter such as
specific measures undertaken to enhance overall contract performance. We note that
Exemption (b)(4) has been applied to portions of the documents that are being released to you
as well as to 4,999 pages of the documents that are being withheld in their entirety. Because
the information that is being withheld does not relate to trade secrets, Exemption (b)(4) will
only apply to: "(l) commercial and financial information, (2) obtained from a person or by the
government, (3) that is privileged and confidential." Watkins v. Customs & Border Protection,
2011 U.S. App. LEXIS 9443 at 9 (9th Cir. May 6, 2011).

        As applied to the instant case, the information redacted pursuant to Exemption (b)(4) is
clearly commercial. Although not all information submitted to the government by a
commercial entity will be protected by Exemption (b)(4), the courts interpret the term broadly
and extend the exemption to cover any information in which a third party has a "commercial
interest." Baker & Hostetler LLP v. Department of Commerce, 473 F.3d 312, 319 (D.C. Cir.
2006).

        Similarly, the information at issue was obtained by a "person," satisfying the second
prong of Exemption (b)(4 )' s requirements. Courts also interpret this prong broadly so as to
include any information submitted by "an individual, partnership, corporation, association or
public or private organization other than the agency." Nadler v. FDIC, 92 F. 3d 93, 95 (2d Cir.
1996). Here, the redacted information was provided to CBP by private parties which each
clearly fit the description of "person" within the meaning of Exemption (b)(4 ).

        We must next determine whether the redacted information is considered to be
"privileged and confidential" within the meaning of Exemption (b)(4). Whether information
submitted to a federal agency is considered "confidential" under Exemption (b)(4) depends on

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whether the information was a required or voluntary submission to the government. If the
government required submission of the information, the exemption will only protect
commercial or financial material that is likely to: "(I) impair the government' s ability to obtain
necessary information in the future; or (2) cal!se substantial harm to the competitive position of
the person from whom the information was obtained." National Parks and Conservation
Association v. Morton, 498 F.2d 765, 770 (D.C. Cir 1974). In contrast, Exemption (b)(4)
offers broader protection for any financial or commercial information provided to the
government on a voluntary basis. In such situations, information will be protected in all cases
so long as "it is of a kind that a provider would not customarily release to the public." Critical
Mass Energy Project v. Nuclear Regulatory Commission, en bane. 975 F.2d 871 , 872 (D.C. Cir.
1992).

        Here, each party voluntarily submitted a proposal in response to the RFP ' s in order to
be awarded a contract by CBP to build a prototype of the border wall. However, CBP required
the submission of the information at issue in order to adequately evaluate the proposals and
ultimately award the contracts to build the prototypes of the wall. Therefore, because CBP
required the submissions, in order to qualify for protection under Exemption (b)(4), disclosure
of the information must be likely to (1) impair the government's ability to obtain necessary
information in the future; or (2) cause substantial harm to the competitive position of the person
from whom the information was obtained.

        In this case, we have determined that release of the information that is being withheld
would cause substantial harm to the competitive positions of the submitters. In this regard,
release of the information would clearly reveal the competitive vulnerabilities and operational
capabilities of various firms. Releasing the information that is being withheld would enable
competitors to exploit this information for their benefit by enhancing their ability to obtain
future government contracts by formulating and altering their business strategies. This would
thereby substantially harm the competitive positions of the CBP contractors by undercutting
their ability to obtain future contracts. Accordingly, we determine that this information is
exempt from disclosure pursuant to Exemption (b)(4).

       In applying Exemption (b)(4), we have considered your argument that the RFP 's
repeatedly indicated that any information gathered through the proposal process would be in
the public domain and not be considered confidential. We do not believe the specific
provisions you highlighted are applicable to this FOIA matter. For example, you have
highlighted only a specific portion of one document that states "All such materials are to
remain in the public domain." The clause you have cited states, in part, that:

       Article C.13 Special Considerations

       Neither the Contractor nor any subcontractor or representative thereof shall release or
       publish any sketch, photograph, report or other material of any nature derived or
       prepared under and resulting task order without specific written permission of the
       Contracting Officer except as specifically provided in the SOW.

       Copyright shall not be claimed by the Contractor for any materials produced under any

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       resulting task order. All such materials are to remain within the public domain.

As stated above, we do not believe this provision or the others that you have highlighted in the
attachments to your appeal are applicable to this case.

        Exemption (b)(5) of the FOIA protects inter-agency or intra-agency memorandums or
letters which would not be available by law to a party other than an agency in litigation with the
agency. The statutory language unequivocally incorporates all civil discovery rules into FOIA
Exemption (b)(5). The three primary, most frequently invoked privileges that have been held
to be incorporated into Exemption (b)(5) are the deliberative process privilege, the attorney
work-product privilege, and the attorney-client privilege.

        The most commonly invoked privilege incorporated within Exemption 5 is the
deliberative process privilege, the general purpose of which is to "prevent injury to the quality
of agency decisions." NLRB v. Sears, Roebuck & Co., 421 U. S. 132, 151 (1975). Specifically,
three policy purposes consistently have been held to constitute the basis for this privilege: (I ) to
encourage open, frank discussions on matters of policy between subordinates and superiors; (2)
to protect against premature disclosure of proposed policies before they are finally adopted; and
(3) to protect against public confusion that might result from disclosure of reasons and
rationales that were not in fact ultimately the grounds for an agency' s actions. See, ~ .
Russell v. Dep't of the Air Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982); Coastal States Gas
Corp. v. Dep't of Energy, 617 F.2d 854, 866 (D.C. Cir. 1980). Traditionally, the courts have
established two fundamental requirements, both of which must be met, for the deliberative
process privilege to be invoked. Petroleum Info. Corp. v. United States Dep 't of the Interior,
976 F.2d 1429, 1434 (D.C. Cir. 1992). First, the communication must be predecisional, and
second, the communication must be deliberative in that it makes recommendations or expresses
opinions on legal or policy matters. Vaughn v. Rosen, 523 F.2d 1136, 1143-44 (D.C. Cir.
1975).

         As applied, we initially note that the information withheld pursuant to the Exemption
(b)(5) deliberative process privilege includes documents such as the interagency acquisitions
supplement draft document, best procurement approach for assisted acquisition draft document,
terms and conditions for assisted acquisitions draft document, border wall funding draft
spreadsheets, draft interagency agreements, proposed responses to U.S. Senator questions with
edits, border wall communication and outreach strategy plan and outline, internal white paper
draft documents pertaining to acquiring prototype wall designs, draft schedules pertaining to
border wall matters, internal risk registers, U.S. Border Patrol facilities and tactical
infrastructure and Air and Marine PMO wall project requirements document, maps with
proposed tactical infrastructure projects, and portions of certain emails. In determining that thi s
information is properly withheld from disclosure pursuant to Exemption (b)(5), we note that the
initial consideration that must be made is whether the information being withheld is of the type
intended to be covered by the phrase "inter-agency" or " intra-agency memorandums." The
information being withheld pursuant to Exemption (b)(5) in this case was created by CBP
employees in order to develop, examine, or propose CBP policies relating to the border wall.
Therefore, the initial threshold requirement of Exemption (b)(5) is met in this case.


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        Having satisfied the threshold requirement of Exemption (b)(5), we must next consider
whether the information that is being withheld is considered both prcdccisional and deliberative
in nature. In considering this issue, we note that the Supreme Court has held that " [a]gencies
are, and properly should be, engaged in a continuing process of examining their policies; this
process will generate memoranda containing recommendations which do not ripen into agency
decisions ... ". Sears, 421 U.S. at 151 n. 18. As such, courts have held that Exemption (b)(5)
can be applicable if documents are generated as part of such a continuing process of decision
making. See,~. Cassad v HHS, 301 F.3d 1247, 1252 (10th Cir. 2002). Categories of
documents that are routinely protected by the deliberative process privilege are "advisory
opinions, recommendations, and deliberations comprising part of a process by which
governmental decisions and policies are formulated. " Sears, 421 U.S. at 150. They are
protected because, by their very nature, their release would likely "stifle honest and frank
communication within the agency." Coastal States, 617 F.2d at 866. To this end, it has been
recognized that "[t]he deliberative process privilege rests on the obvious realization that
officials will not communicate candidly among themselves if each remark is a potential item of
discovery and front page news." See, Dep' t of the Interior v. Klamath Water Users Protective
Ass'n, 532 U.S. 1, 8-9 (2001).

        In the instant case, we find that the information that is being withheld pursuant to
Exemption (b)(5) is predecisional and deliberative in that it consists of evaluations, opinions,
observations, and other findings that CBP employees have deemed critical as part of
administering the evolving and ongoing border wall construction process. We have determined
that these documents are predecisional and deliberative in nature in that they contain
information under consideration by CBP as the agency moves towards a decision on how to
proceed with this process. In this regard, the authors of the documents are selecting specific
facts out of a larger group of facts and this constitutes an exercise of judgment by CBP
personnel and this very act is deliberative in nature. Release of the documents and information
would reveal how CBP employees are prioritizing different facts and what facts they consider
to be important in the process. In addition, releasing these documents could result in confusion
regarding reasons and rationales that may not ultimately be the grounds for any actions the
agency may take regarding the ongoing construction process. Moreover, release ofthese
documents could chill open and frank discussions among CBP employees. We specifically
note that the documents contain employee findings ;
alternatives/advantages/disadvantages/recommendations for different construction and
procurement scenarios; suggested text proposals for agreements and other documents; internal
funding calculations; employee edits; proposed construction schedules; proposed courses of
action; and, analyses of proposed tactical infrastructure projects. The act of distilling the
evidence, which involves separating the significant facts from the insignificant facts,
constitutes an exercise of judgment by agency personnel. Such selective facts are therefore
entitled to the same protection as afforded to purely deliberative materials, as their release
would permit indirect inquiry into the mental processes of employees and expose agency
deliberations. If disclosed, this information could result in confusion regarding reasons and
rationales that are not ultimately the grounds for the agency's actions and would chill open and
frank discussions among those CBP employees that are involved in the border wall
construction and contracting processes. This deliberative and pre-decisional information is
precisely the type of material that the exemption was intended to cover as the information

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reflects agency deliberations and is therefore properly withheld from disclosure pursuant to
FOTA Exemption (b)(5).

         In addition, we also note that courts have found that "drafts'' are a category of document
that is particularly likely to be found exempt under the deliberative process privilege.
Abdelfattah v. DHS, 488 F.3d 178, 183 (3d Cir. 2007); Gerstein v. CIA, No. 06-4643, 2008
WL 4415080, at *16 (N.D. Cal. Sept. 26, 2008) (protecting draft letters); Donham v. U.S .
Forest Service, No. 07-111, 2008 WL 2157167, at *5 (S.D. Ill. May 21, 2008) (finding draft
documents to be "precisely the kind of documents that Exemption 5 and the deliberative
process privilege seek to protect from disclosure"); Pub. Employees for Envtl Responsibility v.
Bloch, 532 F. Supp. 2d 19, 22 (D.D.C. 2008) (protecting draft "position descriptions");
Ebersole v. United States, No. 06-2219, 2007 WL 2908725, at *5 (D. Md. September 24, 2007)
(protecting draft memorandum of understanding, noting that draft " does not memorialize a final
agency decision"); Judicial Watch, Inc. v. U.S. Dep't of Commerce, 337 F. Supp. 2d 146, 174
(D.D.C. 2004) (protecting draft agreement and draft ofletter from Secretary of Commerce).
Therefore, we find that the draft documents are properly withheld from disclosure pursuant to
Exemption (b)(5).

        Exemption (b)(6) permits the Government to withhold all information about individuals
in "personnel and medical files and similar files" when the disclosure of such information
"would constitute a clearly unwarranted invasion of personal privacy." Once the threshold
requirement is met, Exemption (b)(6) requires a balancing of the public ' s right to know against
an individual's right to privacy to determine whether disclosure of the records at issue would
constitute a clearly unwarranted invasion of a person's privacy. Dep' t of the Air Force v. Rose,
425 U.S. 352 (1976). It must be ascertained whether a protectible privacy interest exists that
would be threatened by disclosure. In order to compel release of materials, there must be a
public interest because "something, even a modest privacy interest outweighs nothing every
time." Cappabianca v. Comm'r, U.S. Customs Serv., 847 F. Supp. 1558 (M.D. Fla. 1994).

       In this case, we have determined that you have no genuine and significant interest in the
names and other identifying information (for example, telephone numbers, email addresses,
photographs) of the Federal employees and other third-parties that are located in the
documents, nor have you asserted any public interest in the disclosure of this information.
Further we find that the individual ' s right to privacy outweighs whatever public interest, if any,
might exist in knowing information such as their identity. Accordingly, Exemption (b)(6) has
been applied to withhold this information from disclosure in the documents that are being
released to you as well as in the documents that are being withheld from disclosure.

        In addition to Exemption (b)(6), the information identifying the Federal employees and
other third parties is also withheld under Exemption (b)(7)(C). Exemption (b)(7)(C) provides
protection for personal information in law enforcement records, the disclosure of which "could
reasonably be expected to constitute an unwarranted invasion of personal privacy." The names
of Federal employees as well as third-party individuals mentioned in law enforcement records
are exempt from disclosure pursuant to Exemption (b)(7)(C). This exemption is designed to
protect, among other interests, the interests of law enforcement personnel from "harassment
and annoyance in the conduct of their official duties and in their private lives" which could

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conceivably result from public disclosure of their identity. Nix v. United States, 572 F.2d 998,
1006 (4th Cir. 1978). In addition, the exemption is also intended to protect third-parties whose
identities are revealed in law enforcement files from comment, speculations, and stigmatizing
connotation associated with being identified in a law enforcement record. Lesar v. United
States, 636 F.2d 472 (D.C. Cir. 1980).

        The documents under consideration in this case relate to construction of a border wall
which is meant to deter illegal crossings and to protect the United States from other outside
threats. Therefore, the records are considered law enforcement records compiled in furtherance
of CBP's law enforcement mission. Moreover, the individuals whose privacy would be subject
to invasion are identified in the various documents and such invasion of privacy is
unwarranted. There is no public interest to be served by placing the identities or personally
identifying information of the individuals before the public. Therefore, Exemption (b)(7)(C)
has also been properly applied throughout the records to withhold this information from
disclosure.

        Exemption (b)(7)(E) exempts from disclosure information that would disclose
techniques and procedures for law enforcement investigations or prosecutions, or would
disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law. See, Fisher v. U.S. Dep't of Justice,
772 F. Supp. 7 (D.D.C. 1991) (explicitly recognizing categorical protection for law
enforcement techniques and procedures), affd, 968 F.2d 92 (1992); and, Hammes v. U.S.
Customs Service, 1994 WL 693717 (S.D.N.Y. 1994) (protecting criteria used to determine
which passengers to stop and examine). Exemption (b)(7)(E) is designed to provide categorical
protection for law enforcement techniques and procedures. See, Beck v. U.S. Dep' t of the
Treasury, No. 88-493 (D.D.C. 1989), aff'd, 949 F.2d 1563 (D.C. Cir. 1992) (approving
nondisclosure of certain documents because disclosure would reveal surveillance techniques
used by Customs, as well as why certain individuals were contacted with regard to
investigations).

         In this case, Exemption (b)(7)(E) has been applied to withhold from disclosure sensitive
law enforcement information. The information that is being withheld from disclosure pursuant
to FOIA Exemption (b)(7)(E) includes information relating to tactical infrastructure
construction plans that could reveal potential strengths or vulnerabilities to violators as well as
other sensitive information relating to U.S. Government border facilities and operations. In this
regard, an example of the information that is being withheld includes the locations of U.S.
Border Patrol forward operating bases and checkpoints which are strategically located for the
sustainment of tactical operations. In addition, tactical infrastructure construction plans that set
forth the specific locations of cables, cameras, and other detection technologies have been
withheld from disclosure as well as information pertaining to specific fence vulnerabilities and
proposed surveillance techniques intended to better deter illegal crossings. Internal risk
assessments that were developed to analyze the foregoing projects have also been withheld
pursuant to Exemption (b)(7)(E) as they discuss sensitive CBP law enforcement information.
In making the determination to withhold this information from disclosure, we note that the
border wall and other tactical infrastructure projects are law enforcement tools that CBP
utilizes to enforce the immigration and narcotics laws of the United States as well as to perform

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its homeland security mission. The information has been withheld from disclosure in order to
protect this sensitive law enforcement information. Release of the information would enable
individuals to develop countermeasures to evade border security measures thereby
circumventing the law. Also, internal CBP accounting and data codes have been withheld from
disclosure pursuant to Exemption (b)(7)(E). This information has been redacted in order to
protect CBP's methods for categorizing, identifying, and navigating certain law enforcement
records. Release of this information could enable individuals to identify and potentially access
law enforcement records and CBP databases without authorization thereby circumventing the
law. Therefore, Exemption (b)(7)(E) has been applied to certain documents to withhold this
information from disclosure.

         The Freedom of Information Act, particularly Title 5 U.S.C. § 552 (a)(4)(B), provides
you with the opportunity to seek judicial review of this administrative appeal. You may
institute judicial review in the United States District Court in the district in which you reside,
have a principal place of business, where the agency records are located, or in the United States
District Court for the District of Columbia.

        As part of the 2007 FOIA amendments, the Office of Government Information Services
("OGIS") was created to offer mediation services to resolve disputes between FOIA requesters
and Federal agencies as a non-exclusive alternative to litigation. Using OGIS services does not
affect your right to pursue litigation. If you are requesting access to your own records (which is
considered a Privacy Act request), you should know that OGIS does not have the authority to
handle requests made under the Privacy Act of 1974. You may contact OGIS in any of the
following ways:

               Office of Government Information Services
               800 N. Capitol Street, Suite 795
               Washington, DC 20002

               Telephone: 202-741-5770
               Facsimile: 202-741-5769
               www.archives.gov/ogis

                                              Sincerely,



                                            - ~~Li
                                            '--
                                              Shari Suzuki, Chief
                                              FOIA Appeals, Policy, and Litigation
                                              Regulations and Rulings
                                              Office of Trade

Enclosures



                                                IO
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                          EXHIBIT C
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                                   List of Documents CBP-AP-2018-006188



Document           Document Description                  Pages               Disposition & Exemption(s)
1          Contract Documents.                            976    The documents were released with certain
                                                                 redactions. Redactions were applied pursuant to
           These documents consisted of the                      Exemptions (b)(6) and (b)(7)(C) in order to protect
           “Solicitation, Offer, and Award”                      the personal information of CBP employees and of
           documents with attachments including                  the third parties that are identified in the
           the various Amendments containing                     documents. The information was redacted in order
           questions and answers.                                to protect the individuals from unnecessary and
                                                                 unofficial questioning and harassment. Disclosure
                                                                 would constitute a clear invasion of their privacy.
                                                                 In addition, Exemption (b)(7)(E) was applied to
                                                                 protect information such as internal accounting
                                                                 data codes in order to protect CBP’s methods for
                                                                 categorizing, identifying, and navigating CBP
                                                                 records.

2          PowerPoint Prototype Site Visit Slides.       11      The documents were released with certain
                                                                 redactions. Redactions were applied pursuant to
           PowerPoint presentation pertaining to a               Exemption (b)(7)(E) in order to protect tactical
           site visit to San Diego on May 18-19,                 infrastructure plans that could reveal access points
           2017.                                                 and other site strengths or vulnerabilities.


3          Contracting Officer Unsigned Document.         2      Information withheld from disclosure. The
                                                                 information was withheld from disclosure pursuant
           This internal document discusses upper                to Exemption (b)(5) deliberative process privilege
           and lower cost ranges that could be                   because the information in the two-page document
           incorporated into the solicitation in order           is predecisional and deliberative in that it consists
           to encourage as many offerors as possible             of evaluations, opinions, observations, and other
           to submit proposals.                                  findings that CBP employees deemed critical as
                                                                 part of administering the border wall contracting
                                                                 process.
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                                                         2
4   Interagency Acquisitions Supplement.       2   Information withheld from disclosure. The
                                                   information was withheld from disclosure pursuant
    Unsigned Interagency Acquisition               to Exemption (b)(5) deliberative process privilege
    Supplement pertaining to construction of       because the information in the two-page
    border infrastructure.                         document is predecisional and deliberative in that
                                                   it consists of evaluations, opinions, observations,
                                                   and other findings that CBP employees deemed
                                                   critical as part of administering the border wall
                                                   contracting and construction process. In addition,
                                                   Exemptions (b)(6) and (b)(7)(C) were applied to
                                                   protect the identities of CBP employees in order to
                                                   protect the employees from unnecessary and
                                                   unofficial questioning and harassment as to the
                                                   conduct of their duties.

5   Determination of Best Procurement          6   Information withheld from disclosure. The
    Approach for Assisted Acquisitions.            information was withheld from disclosure pursuant
                                                   to Exemption (b)(5) deliberative process privilege
    Unsigned draft document sets forth             because the information in the six pages is
    findings, advantages, disadvantages, and       predecisional and deliberative in that it consists of
    recommendations pertaining to                  evaluations, opinions, observations, and other
    interagency acquisitions.                      findings that CBP employees deemed critical as
                                                   part of administering the border wall contracting
                                                   process. In addition, Exemptions (b)(6) and
                                                   (b)(7)(C) were applied to protect the identities of
                                                   CBP employees in order to protect the employees
                                                   from unnecessary and unofficial questioning and
                                                   harassment as to the conduct of their duties.

6   Terms and Conditions for Assisted          9   Information withheld from disclosure. The
    Acquisitions.                                  information was withheld from disclosure pursuant
                                                   to Exemption (b)(5) deliberative process privilege
    Unsigned draft document sets forth the         because the information in the nine pages is
    terms and conditions for assisted              predecisional and deliberative in that it consists of
    acquisitions.                                  evaluations, opinions, observations, and other
                                                   findings that CBP employees deemed critical as
                                                   part of administering the border wall contracting
                                                   process. In addition, Exemptions (b)(6) and
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                                                           3
                                                     (b)(7)(C) were applied to protect the identities of
                                                     CBP employees in order to protect the employees
                                                     from unnecessary and unofficial questioning and
                                                     harassment as to the conduct of their duties.

7   Interagency Agreement Statement of          10   Information withheld from disclosure. The
    Work CBP and U.S. Army Corps of                  information was withheld from disclosure pursuant
    Engineers.                                       to Exemption (b)(5) deliberative process privilege
                                                     because the information in the 10 pages is
    Statement of work pertaining to                  predecisional and deliberative in that it consists of
    construction of the border wall. The             evaluations, opinions, observations, and other
    document contains funding calculations,          findings that CBP employees deemed critical as
    objectives, and proposed taskings.               part of administering the border wall contracting
                                                     and construction process. Exemptions (b)(6) and
                                                     (b)(7)(C) were also applied to protect the identities
                                                     of CBP employees in order to protect the
                                                     employees from unnecessary and unofficial
                                                     questioning and harassment as to the conduct of
                                                     their duties. In addition, Exemption (b)(7)(E) was
                                                     applied to protect information such as financial
                                                     codes in order to protect CBP’s methods for
                                                     categorizing, identifying, and navigating CBP
                                                     records.

8   Border wall funding documents.              4    Information withheld from disclosure. The
                                                     information was withheld from disclosure pursuant
    The four pages of documents are                  to Exemption (b)(5) deliberative process privilege
    spreadsheets that contain proposed levels        because the information in the four pages of
    of funding for various aspects of the            internal CBP documents is predecisional and
    border wall.                                     deliberative in that it consists of proposed figures,
                                                     opinions, observations, and other findings that
                                                     CBP employees deemed critical as part of
                                                     administering the border wall contracting process.

9   Proposed responses to Congressional         6    Information withheld from disclosure. The
    inquiries.                                       information was withheld from disclosure pursuant
                                                     to Exemption (b)(5) deliberative process privilege
    The documents contain proposed                   because the information in the six pages is
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                                                            4
     responses to questions presented by              predecisional and deliberative in that it consists of
     CBP’s Office of Congressional Affairs            evaluations, opinions, observations, and other
     (OCA) and Members of Congress. The               findings that CBP employees deemed critical as
     documents contain edits.                         part of administering the border wall program. In
                                                      addition, Exemption (b)(7)(E) was applied to
                                                      protect information such as the specific location of
                                                      U.S. Border Patrol forward operating bases which
                                                      are strategically located for the sustainment of
                                                      tactical operations.

10   Border Wall/Barrier System                   7   Information withheld from disclosure. The
     Communication and Outreach Strategy              information was withheld from disclosure pursuant
     and Plan Outline.                                to Exemption (b)(5) deliberative process privilege
                                                      because the information in the seven pages is
     This document sets forth a proposed              predecisional and deliberative in that it consists of
     comprehensive and coordinated                    evaluations, opinions, observations, and other
     communication and outreach strategy              findings that CBP employees deemed critical as
     regarding the border wall.                       part of administering the border wall
                                                      communication and outreach strategy. In addition,
                                                      Exemptions (b)(6) and (b)(7)(C) were applied to
                                                      protect the identities of CBP employees in order to
                                                      protect the employees from unnecessary and
                                                      unofficial questioning and harassment as to the
                                                      conduct of their duties.

11   Internal white paper draft documents         5   Information withheld from disclosure. The
     pertaining to acquiring prototype wall           information was withheld from disclosure pursuant
     designs.                                         to Exemption (b)(5) deliberative process privilege
                                                      because the information in the five pages is
     These documents set forth the intent of          predecisional and deliberative in that it consists of
     the requests for proposals (RFP’s),              evaluations, opinions, observations, and other
     evaluation considerations, and other             findings that CBP employees deemed critical as
     factors relating to awarding the prototype       part of administering the border wall contracting
     contracts.                                       process.


12   Draft schedules.                             2   Information withheld from disclosure. The
                                                      information was withheld from disclosure pursuant
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                                                                5
     Two pages of draft schedules that set                to Exemption (b)(5) deliberative process privilege
     forth tentative dates pertaining to the              because the information in the two pages of draft
     RFP’s, award of the contracts, and other             schedules is predecisional and deliberative in that
     matters related to the border wall.                  it consists of observations and other findings that
                                                          CBP employees deemed critical as part of
                                                          administering the border wall planning process. In
                                                          addition, Exemptions (b)(6) and (b)(7)(C) were
                                                          applied to protect the identities of CBP employees
                                                          in order to protect the employees from
                                                          unnecessary and unofficial questioning and
                                                          harassment as to the conduct of their duties.


13   Internal risk register.                        1     Information withheld from disclosure. The
                                                          information was withheld from disclosure pursuant
     This document is a tactical infrastructure           to Exemption (b)(5) deliberative process privilege
     risk register that sets forth various                because the information in the risk register is
     elements such as construction program                predecisional and deliberative in that it consists of
     risk, risk category, description of risk,            evaluations, observations, and other findings that
     probability of risk, and dollar amount of            CBP employees deemed critical when considering
     risk.                                                various risk factors with respect to the border wall
                                                          contracting process. Exemptions (b)(6) and
                                                          (b)(7)(C) were also applied to protect the identities
                                                          of CBP employees in order to protect the
                                                          employees from unnecessary and unofficial
                                                          questioning and harassment as to the conduct of
                                                          their duties. In addition, Exemption (b)(7)(E) was
                                                          applied to protect sensitive information pertaining
                                                          to CBP infrastructure projects. Releasing this law
                                                          enforcement information could potentially enable
                                                          individuals to develop countermeasures to evade
                                                          border security measures relating to such projects.

14   Border Patrol Facilities and Tactical         33     Information withheld from disclosure. The
     Infrastructure & Air and Marine PMO                  information was withheld from disclosure pursuant
     Wall Program Project Requirements                    to Exemption (b)(5) deliberative process privilege
     Document.                                            because the information in the documents is
                                                          predecisional and deliberative in that it consists of
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                                                           6
     This is a project requirements document         evaluations, observations, and other findings that
     that sets forth in detail various               CBP employees deemed critical when considering
     components of CBP’s tactical                    various factors pertaining to CBP infrastructure
     infrastructure wall program. The                projects. Exemptions (b)(6) and (b)(7)(C) were
     document contains objectives,                   also applied to protect the identities of CBP
     justifications, diagrams, conceptual            employees in order to protect the employees from
     designs, exhibits, and other sensitive          unnecessary and unofficial questioning and
     internal law enforcement information            harassment as to the conduct of their duties. In
     pertaining to the wall program.                 addition, Exemption (b)(7)(E) was applied to
                                                     protect sensitive information pertaining to CBP
                                                     infrastructure projects. Releasing this law
                                                     enforcement information could potentially enable
                                                     individuals to develop countermeasures to evade
                                                     border security measures relating to such projects.


15   CBP Emails.                               19    Information was withheld from disclosure
                                                     pursuant to Exemption (b)(5) deliberative process
     Internal CBP emails and attachments             privilege because certain information in the emails
     concerning border wall matters.                 is predecisional and deliberative in that it consists
                                                     of evaluations, observations, and other findings
                                                     that CBP employees deemed critical when
                                                     considering various factors pertaining to the
                                                     border wall contracting and construction process.
                                                     Exemptions (b)(6) and (b)(7)(C) were also applied
                                                     to the emails to protect the identities of CBP
                                                     employees in order to protect the employees from
                                                     unnecessary and unofficial questioning and
                                                     harassment as to the conduct of their duties.


16   Wall Outreach and Communications           1    Released.
     Meeting Agenda.

     Agenda for meeting of April 10, 2017.

17   Emails.                                   182   The emails and attachments were released with
                                                     redactions. Redactions were applied pursuant to
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                                                               7
     Emails and attachments that were sent to            Exemption (b)(4) to protect certain commercial
     BorderWallDesignBuild@cbp.dhs.gov.                  information that is exempt from disclosure.
                                                         Information was also withheld from disclosure
                                                         pursuant to Exemption (b)(5) deliberative process
                                                         privilege because certain information in the emails
                                                         is predecisional and deliberative in that it consists
                                                         of evaluations, observations, and other findings
                                                         that CBP employees deemed critical when
                                                         considering various factors pertaining to the
                                                         border wall contracting and construction process.
                                                         Exemptions (b)(6) and (b)(7)(C) were also applied
                                                         to protect the identities of CBP employees and
                                                         other third parties in order to protect the
                                                         employees and third parties from unnecessary and
                                                         unofficial questioning and harassment.

18   Proposals.                                  5,483   Information withheld from disclosure.
                                                         Information was withheld from disclosure
     The proposals submissions consist of                pursuant to Exemption (b)(3) because the
     concept papers, financial information,              submissions are considered proposals under 41
     technical diagrams, charts, and other               U.S.C. § 4702(a) and are prohibited from release
     related documents. These submissions                by statute. Exemption (b)(4) was applied to
     are considered to be proposals as defined           protect certain commercial information that is
     under 41 U.S.C. § 4702(a). These                    exempt from disclosure. Release of this
     proposal documents were not selected by             information would substantially harm the
     CBP for inclusion in a contract or                  competitive positions of various companies by
     otherwise incorporated into a contract by           undercutting their ability to obtain future contracts.
     reference. The decision letter of                   Exemptions (b)(6) and (b)(7)(C) were also applied
     September 10, 2018, indicates 5,482                 to protect the identities of CBP employees and
     pages of proposal documents were                    other third parties in order to protect the
     withheld. We note that 5,483 pages of               employees and third parties from unnecessary and
     documents were withheld as explained in             unofficial questioning and harassment. In
     the third column.                                   addition, Exemption (b)(7)(E) was applied to
                                                         protect sensitive information pertaining to CBP
                                                         infrastructure projects. Releasing this law
                                                         enforcement information could potentially enable
                                                         individuals to develop countermeasures to evade
                                                         border security measures relating to such projects.
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                                                            8
19   Letters.                                      2   Released.

     Form letters informing submitters that
     their submissions to build the border wall
     were not successful.
20   Question/Instructions Document.               1   Released.

     Question/Instructions Document for
     offerors to consider relative to submitting
     their construction proposals.
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                          EXHIBIT D
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From:               CALDWELL. EDWARD
To:                 "Michael Corey"
Cc:                 SUZUKI. SHARI; "vbaranetsky@revealnews.org"
Subject:            RE: Setting up a call RE: CBP-2017-051381
Date:               Monday, October 22, 2018 12:58:00 PM
Attachments:        List of Documents CBP-AP-2018-006188.doc


Hi Michael,


As discussed, here is a list of the documents and exemptions used in the appeal.


Thank you,


Ed Caldwell

Attorney
FOIA Appeals, Policy and Litigation Branch
Regulations and Rulings
Office of Trade
U.S. Customs and Border Protection
Department of Homeland Security
Telephone: (202) 325-0112
Fax: (202) 325-031 O



From: Michael Corey [mailto:mcorey@revealnews.org]
Sent: Thursday, October 18, 2018 7:45 PM
To: SUZUKI, SHARI <SHARI.SUZUKl@CBP.DHS.GOV>; CALDWELL, EDWARD
<EDWARD.CALDWELL@CBP.DHS.GOV>
Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>
Subject: Re: Setting up a call RE: CBP-2017-051381


Hello, all:

Michael Corey from Reveal here. I'm wondering if you have an estimated date for when you
might be able to supply a Vaughn-like index as we discussed. Thank you again for your time.

Michael Corey
Senior Data Editor
Reveal from The Center for Investigative Reporting

On Mon, Sep 24, 2018 at 3:14 PM Michael Corey <mcorey@revealnews.org> wrote:

  That sounds great, Shari. Thank you! Good luck with the busy time.

  On Wed, Sep 19, 2018 at 11:32 AM SUZUKI, SHARI <SHARI.SUZUKI@cbp.dhs.gov>
  wrote:

      Hi Michael,
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· You spoke to Ed Caldwell of my staff. His number is (202} 325-0112.


 The last 2 weeks of the fiscal year are the busiest of the year in the FOIA world. Ed mentioned
 to me you wanted something similar to a Vaughn Index. While we have no obligation to
 produce one, I asked Ed to look at the documents that were withheld and see how difficult it
 would be to develop a list of the documents and what exemptions were used (Ed is usually
 pretty good about describing in his decisions any records that were withheld in full). I am just
 super jammed up with the transition to FOIAOnline 3.0 and end of year push.


 Regards,
 Shari


 Shari Suzuki, Chief
 FOIA Appeals, Policy & Litigation Branch
 Regulations & Disclosure Law Division
 Office of Trade
 U.S. Customs & Border Protection
 (202) 325-0121
 Shari.suzuki@dhs.gov




 From: Michael Corey <mcorey@revealnews.org>
 Sent: Wednesday, September 19, 2018 12:58 PM
 To: SUZUKI, SHARI <SHARI.SUZUKl@CBP.DHS.GOV>
 Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>
 Subject: Re: Setting up a call RE: CBP-2017-051381


 Hi Shari:

: I heard from someone in your office on Monday, but I have misplaced his name and
· number unfortunately. I definitely understand your schedule is tight, but can we set up a
  time for a call this week or on Monday?

· Thankyou,

 Michael Corey
 Senior Data Editor
 Reveal from The Center for Investigative Reporting
 510.809.3178

 On Fri, Sep 14, 2018 at 3:15 PM, Michael Corey <rncorey@revealnews.org> wrote:
  Hello Shari:

   Michael Corey from Reveal here. We received your response to our appeal earlier this
   week. We'd like to set up a call at your earliest convenience to discuss some questions
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 ' we have about what was/wasn't included and redacted.

  Looking forward to speaking.

  Thank you,

   Michael Corey
   Senior Data Editor
   Reveal from The Center for Investigative Reporting
   510.809.3178
 . mcorey@revealnews.org
